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EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division
Case No.:

H.C., a minor, by and through his parent and natural
guardian, Jenny C.; J.E., a minor, by and through his
parent and natural guardian, Nehomie Perceval; M.F.,
a minor, by and through his parent and natural
guardian, Asisa Rolle; and T.M., a minor, by and
through his parent and natural guardian, Jessica
Joiner, on behalf of themselves and all others
similarly situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity, et al.

Defendants.

DECLARATION OF LOUIS J. KRAUS, M.D.

I, Louis J. Kraus, pursuant to 28 U.S.C. § 1746, declare as follows:
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1. This declaration is submitted in support of the Plaintiffs’ Motion for a Preliminary

Injunction. If called upon to testify, I could and would do so competently as follows.
QUALIFICATIONS

2. I am currently Professor and Chief of Child and Adolescent Psychiatry at Rush
University Medical Center in Chicago, Illinois. In that capacity, I supervise and train child and
adolescent psychiatry fellows in various placements, including in in-patient, residential treatment,
and outpatient programs for children, adolescents, and young adults. I am also currently the
Psychiatric Director at the Sonia Shankman Orthogenic School, a residential treatment program
for children and adolescents in need of support for profound emotional issues; the Director of the
Autism Assessment, Research, Treatment and Services Center at Rush University Medical Center;
and the Medical Director of the Chicago Metropolitan Easter Seals Therapeutic School, a school
providing a continuum of services for children with autism. I also have a private practice where I
assess and treat children and adolescents and provide therapy and psychopharmacological services.

3. I have worked with juveniles in correctional settings for the past 26 years, including
for nine years from 1990 to 1999 as the treating psychiatrist at the Illinois Maximum Security
Youth Center in Joliet, Illinois. From 2003 to 2004, I was a consultant to the Civil Rights Division
of the United States Department of Justice on a Civil Rights of Institutionalized Person Act
("CRIPA") investigation in Maryland. I also consulted with the American Civil Liberties Union
of Illinois in a case challenging conditions in the Cook County Juvenile Temporary Detention

Center, which resulted in system-wide restructuring of mental health services for juveniles held in

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pre-trial detention. I have served as a consultant on various other correctional and juvenile justice
matters.

4. I have been appointed to serve as monitor in consent decrees involving reform in
Juvenile justice systems in Arizona and Illinois, both of which included reform to the use of solitary
confinement against juveniles in those systems. In my role in Illinois, which is currently ongoing,
I am assessing and restructuring the mental health programming of the Illinois Department of
Juvenile Justice. See R.J v. Bishop, No. 1:12-cv-07289 (N.D. III). In the Arizona case, I assisted
the Department of Justice from 2005 to 2008 in restructuring the mental health, medical services,
and dental services in two state facilities. See United States v. Arizona, No. 2:04-cv-01926-EHC
(D. Ariz.).

5. I have also been involved in special education consulting and development of
Individualized Education Programs ("IEPs") for the past twenty-two years. I am currently a
consultant on special education issues to over fifteen school districts in Illinois. I typically
complete one or two educational evaluations each week to assist with developing IEPs and attend
IEP meetings. I have testified regarding special education issues in due process hearings under
the Individuals with Disabilities Education Act (“IDEA”) as well as in other civil cases.

6. I have authored a number of publications on treatment of juveniles in correctional
settings. J am the primary author of the American Academy Child and Adolescent Psychiatry's
("AACAP") Policy Statement on Solitary Confinement. I co-edited two monographs on juvenile

Justice reform for the AACAP, co-edited a book through Cambridge University Press entitled The
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Mental Health Needs of Young Offenders, and, most recently, edited a book through the Child and
Adolescent Psychiatric Clinics of North America entitled Adjudicated Youth, published in January
of 2016. I wrote the Practice Parameter for Child and Adolescent Forensic Evaluations for child
and adolescent psychiatry, which was published in the Journal of Child and Adolescent Psychiatry.

7. I have served in a number of professional appointments in my field. From June
2014 to 2015, I served as the chair-elect of the American Medical Association's Council on Science
and Public Health, and from 2015 to 2016, I served as chair. From May 2012 to May 2015, I was
the chair of the American Psychiatric Association's Council on Children, Adolescents and Their
Families, which I had served in for 18 years. From October 2000 to October 2015, I was the chair
of the AACAP's Juvenile Justice Reform Committee, and from 2011 to 2013, I was chair of the
AACAP Assembly.

8. I was on the Board of Directors of the National Commission of Correctional Health
Care ("NCCHC") from 1997 to 2003. I was appointed chairman of the NCCHC Committee on
Juvenile Health Care from 1999 to 2003, and served as vice-chairman of the same committee in
1998.

9. I obtained my Doctor of Medicine degree, M.D., from the Chicago Medical School
in 1987 and my Bachelor of Science degree, B.S., from Syracuse University in 1983.

10.‘ have included a copy of my Curriculum Vitae as Exhibit B-1.

INVOLVEMENT IN THIS CASE
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11. In this present case, | was retained by the law firm of Cohen Milstein Sellers and
Toll, the Legal Aid Society of Palm Beach County, Inc. and the Human Rights Defense Center
(together, "Plaintiffs’ counsel") to perform professional services as an expert in connection with
litigation challenging the use of solitary confinement on juveniles (16- and 17-year-olds) at the
Palm Beach County Jail Main Detention Center (the "Jail"). The Jail is operated by the Palm
Beach County Sheriff s Office (“PBSO”).

12. For the purpose of preparing this declaration I reviewed a number of documents
provided to me by Plaintiffs’ counsel, including: 1) PBSO Inmate Rules; 2) PBSO Inmate
Classification Process; 3) PBSO Juvenile Admission, Classification and Housing; 4) PBSO and
Palm Beach School Board (“School Board”) Cooperative Agreement; 5) No Place for a Child:
Direct File of Juveniles, Policy Brief (James Madison Institute, Feb. 2017); 6) Destined to Fail:
How Florida Jails Deprive Children of Schooling (Southern Poverty Law Center, Feb. 2018); 7)
Declaration of H.C.; 8) Declaration of T.M.; 9) Declaration of J.E.; 10) Declaration of M.F.; 11)
Declaration of W.G.; 12) Declaration of Jeziah Guagno (“J.G.”); 13) Declaration of Jeff Omelus
(“J.0.”); 14) Declaration of Brice Daniels (“B.D.”); 13) Declaration of Nehomie Perceval; 14)
Declaration of Asisa Rolle; 15) Declaration of Jessica Joiner; 16) Declaration of Jenny C.,; 17) 504
Plan and Evaluation re: J.E.; 18) IEP and Evaluation re: M.F.; 19) IEP of T.M.; 20) IEP, conference
notes, and Educational and Psychological Evaluation re: J.G.; 21) IEP, conference notes, and
Evaluation re: W.G.; 22) Evaluation of Brice Daniels; and 23) Draft Class-Action Complaint for

Declaratory and Injunctive Relief.
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13. In forming my opinions below, I relied on my review of the documents referenced
above. I also relied on my academic and clinical experience, as well as the extensive body of
literature regarding the psychiatric effects of solitary confinement, cognitive and behavioral
development in adolescents, and juveniles in correctional settings.

14. It is my understanding that as the litigation progresses, I will be reviewing
additional documents and information regarding the Jail and the detained juveniles, and that I will
be providing additional services and opinions based on those documents and information.

15. [am being compensated at the rate of $400 per hour to prepare this declaration, and
my compensation is not dependent on my opinions or the outcome in this matter.

OPINIONS AND BASES OF OPINIONS

I. THE SHERIFF’S OFFICE HAS A POLICY AND PRACTICE OF
IMPOSING SOLITARY CONFINEMENT ON JUVENILES.

16. It is the policy and practice of the Palm Beach County Sheriff s Office to hold
juveniles in solitary confinement (the “Box”) for administrative or disciplinary reasons.
Disciplinary solitary confinement stems from violation of facility rules and regulations. As
discussed below, jail staff do not appear to make any manifestation determinations to evaluate
whether a rule violation was a product of the juveniles mental health or other disabilities.
Moreover, even though the Sheriff's Office policy includes procedures for a pre-segregation
hearing and review by the “watch commander or designee,” the juveniles report that the Sheriff

Office’s actual policy and practice is to hold no such hearing, review or other form of due process
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prior to their solitary confinement. Further, the Sheriff Office’s policy states that such disciplinary
confinement shall be no longer than 30 days, but again, the actual policy and practice implemented
holds these children much longer without any review or re-classification. Additionally, despite
Sheriff's Office policy calling for 10-minute checks on the juveniles, in reality these are rarely, if
ever, done. According to the Sheriff's Office policy, administrative solitary confinement is
imposed when the juvenile “poses a serious threat to life, property, self, staff, or other inmates.”
In reality, the Sheriffs Office implements a blanket policy and practice of holding juveniles
indefinitely in solitary confinement when there is another co-defendant (or “keep-aways”) in the
same housing unit.

17. The juveniles are held in cells that are approximately 6’ x 12’. There are two
windows on the top and bottom of the doors that are scratched up to such a degree that there is
very little visibility.

18. Juveniles in the Box are routinely locked into cells by themselves for between 23
and 24 hours each day. They are denied access to education and other programming. They eat
alone in their cells.

19. Juveniles in the Box are only given at most one hour each day for "recreation" out
of their cell. While in the Box, the juvenile is placed in a walled-in, cement floor basketball court
during this one-hour period. There is nothing to do in the court and no real "recreation" time.

20. The juvenile’s access to this “recreation”, such as it is, is often irregular and can be

withdrawn at any time for disciplinary purposes.
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21. | When the juveniles are in the Box, by rule they cannot talk to other juveniles from
their cells. They could be punished with additional discipline when they try to talk to their friends
outside of their cell. Staff come to the door occasionally, but the juveniles can get in trouble if
they yell.

22. Juveniles in the Box do not have access to television or music while they are in
their cells.

23. The term “solitary confinement” does not appear anywhere in the policy manuals
of the Jail, but the reality of the Sheriff's Office’s policies and practices is synonymous with the
definition of "solitary confinement" adopted by professional organizations in the field. The
American Academy of Child and Adolescent Psychiatry defines solitary confinement as a form of
discipline or punishment that places an incarcerated individual "in a locked room or cell with
minimal or no contact with people, other than staff of the correctional facility." (A true and correct
copy of this statement is attached to this declaration as Exhibit B-2.) The National Commission
on Correctional Health Care defines solitary confinement as "the housing of an adult or juvenile
with minimal to rare meaningful contact with other individuals." (A true and correct copy of this
statement is attached to this declaration as Exhibit B-3.)

24. It is my opinion that the Sheriff s Office's use of disciplinary segregation (including
administrative segregation pending a disciplinary hearing) and “keep-away” administrative
confinement in the Box constitute solitary confinement as the term is commonly used in the field

of child and adolescent psychiatry. As policy statements in the above paragraph illustrate, what

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matters for whether discipline constitutes solitary confinement is the degree of meaningful social
contact with other people and the degree of access to a regular daily curriculum. This is minimal
in the Box, as the juveniles are alone in their cells for between 23 and 24 hours a day, sometimes
more, with no access to programming and little to no contact with anyone. Although they do have
contact with the facility staff, these interactions cannot be considered meaningful.

Il. THE SHERIFF’S OFFICE’S USE OF SOLITARY CONFINEMENT PUTS
JUVENILES AT A SUBSTANTIAL RISK OF SERIOUS HARM.

25. It is my opinion, within a reasonable degree of medical certainty that all juveniles
subjected to the Jail’s policy and practice of solitary confinement as described above are at a
substantial risk of serious harm to their social, psychological, and emotional development.

A. Juveniles in Detention Are As a Group More
Vulnerable to the Risk of Serious Harm From

Solitary Confinement.

26. Solitary confinement can be dangerous for anyone, but juveniles as a group are
particularly vulnerable to a substantial risk of serious harm from solitary confinement. Because
juveniles are still developing socially, psychologically, and neurologically, they are especially
susceptible to psychological harm when they are isolated from other people. Research suggests
that removing them from their regular routines, school, mental health treatment, and opportunities
for interaction with peers can result in long-term lack of trust, hypervigilance, and paranoia.

27. Solitary confinement negatively impacts juveniles by perpetuating, worsening, or

precipitating mental health concerns, including but not limited to post-traumatic stress disorders,
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psychosis, anxiety disorders, major depression, hypervigilance, agitation, general lack of trust,
suicidal ideation, suicidal intent, self-mutilation, and suicidal behavior. Research also
demonstrates, almost all suicides within juvenile correctional facilities occur when the child is in
some type of isolation.

28. | These mental health concerns can cause long-term harm. Solitary confinement can
lead to chronic conditions like depression which, in teenagers, can manifest as anger or as self-
harm. In addition, children who experience depression and anxiety in their teenage years are at a
higher risk of presenting with these diagnoses again. Damage associated with low self-esteem,
vegetative features, and hopelessness associated with depression can similarly be long-standing.
Depression has a 10-15% mortality rate associated with it, and solitary confinement increases the
risk of suicide substantially compared to the general population.

29. Solitary confinement of juveniles can also lead to long-term trust issues with adults,
including paranoia, anger, and hatred directed at others. This makes it difficult to create a trusting,
therapeutic relationship and can lead to noncompliance with treatment in the future, making it hard
for people to get the help that they need to address the mental health concerns resulting from
solitary confinement.

30. Medical research on adolescent brains explains why juveniles are more vulnerable
to the risk of long-term harm. In the adolescent brain, the connections between the frontal lobe
and the mid-brain have not fully developed. The mid-brain, which is the part of the brain

responsible for the flight-or-fight response, is firing away. If an adolescent is traumatized in

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certain ways, it can cause permanent changes in brain development and create a higher risk of
developing permanent psychiatric sequelae (1.e., aftereffect of a disease) like paranoia and anxiety.
Trauma such as what is induced by solitary confinement has a high likelihood of causing these
permanent changes.

31. Juveniles in jails are also vulnerable to a substantial risk of serious harm from
solitary confinement for the additional reason that they are more likely than the general population
to have diagnosed mental illnesses, learning disabilities, and a high incidence of trauma. Research
shows that over 60 percent of the youth in correctional settings have an underlying major mental
illness.

32. There is a clear medical consensus that for those juveniles with mental illness, the
risk of serious harm is especially great. People with mental illnesses already have cognitive
deficits in their brain structure or biochemistry. They already have weakened defensive
mechanisms, are at a higher risk for mental health sequelae, and are more susceptible to the
significant trauma of social isolation. The trauma of social isolation that can occur for those with
mental illnesses will be more significant and long-lasting than for those without a mental illness.

33. Medical professionals, including organizations like the American Medical
Association, agree that juveniles with mental illnesses should not be placed in solitary confinement
for longer than one hour without a comprehensive evaluation from a physician. Solitary

confinement should never be used to punish people with mental illnesses.

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34. This professional consensus is best reflected in long-standing accreditation
standards for isolation in psychiatric hospitals. The Joint Commission, the most commonly used
accreditation agency for psychiatric hospital systems, limits the use of seclusion to the least amount
of time possible for the immediate protection of an individual, in situations where less restrictive
interventions have been ineffective. Those standards require that, if a person is placed in seclusion
of any kind, after 1 hour alone a physician must assess their well-being.

B. Juveniles at the Jail Are Experiencing Serious
Harm and Are Exposed to a Substantial Risk of

Serious Harm Correlated to the Use of Solitary
Confinement.

35. The documentation regarding the juveniles subjected to solitary confinement at the
Jail indicates that many of the juveniles are diagnosed with and have a history of mental illness
and learning disabilities, including Attention Deficit Hyperactivity Disorder (ADHD), bipolar,
conduct and mood disorders, and intellectual disabilities, which include an IQ below 70.
Additionally, many of the children have experienced involvement with the Florida Department of
Children and Families, demonstrating prior trauma.

36. | Based on my experience, scientific research, review of the juvenile documentation,
and declarations provided by the juveniles, the symptoms of anxiety, frustration, depression,

hopelessness, and hallucinations, described by the juveniles directly correlate to being placed in

solitary confinement.

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37. In my experience, juveniles placed in solitary confinement also exhibit fear and
anxiety, which may lead to increased levels of hopelessness, resulting from the arbitrary nature of
the punishment imposed at the Jail. This sets up an anxiety-provoking situation even when the
juveniles are not in solitary confinement, as they are unable to anticipate what behaviors will result
in them being put in solitary confinement again. Furthermore, the open-ended solitary
confinement experienced by many of the juveniles at the Jail exacerbates these mental health
conditions as they are subjected to seemingly endless amounts of time in isolation.

C. The Sheriff is Not Assessing or Addressing the
Serious Harm or Substantial Risk of Serious
Harm Correlated to the Use of Solitary
Confinement.

38. Based on the declarations provided by the juveniles, it is my understanding that
there is no mental health worker conducting any mental health screening of juveniles in the Box,
or evaluating their mental health while in solitary confinement. Despite Jail policies that require
10-minute checks of the juveniles held in the box, it appears that this has never been implemented.
Such a practice is inadequate for assessing mental health concerns or the risk of suicide for these
already vulnerable children.

39. Deputies threatening juveniles with relocation to a “psych cell” does not constitute
the adequate assessment and treatment of the potential mental health issues of the juveniles in

solitary confinement. In fact, such a practice can have severe short and long-term effects on the

mental and emotional well-being of these children.

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40. It is my opinion that the Sheriff s Office is failing to address the serious harm or
substantial risk of serious harm that is correlated to the use of solitary confinement, especially for
juveniles with mental health problems.

D. The Sheriff's Office Exposes Juveniles to a
Substantial Risk of Serious Harm.

41. It is my opinion that all juveniles subjected to the policy and practice of using
solitary confinement at the Jail are exposed to similar types of serious harm or a substantial risk of
serious harm described above. I base this opinion on research demonstrating that juveniles as a
group are vulnerable to the risk of serious harm from solitary confinement and research showing
that a high percentage of juveniles in detention settings have mental illnesses that exacerbate those
risks of harm.

42. Even juveniles who were or are currently in solitary confinement and not currently
exhibiting obvious serious harms as reflected in the Jail’s records are at a risk of harm. Solitary
confinement can lead to underlying anxiety, hypervigilance, and other signs of acute stress
reactions, and some juveniles are better at minimizing or concealing those effects. Moreover, the
juveniles are at risk of additional harm because they are or can be punished with additional solitary
confinement for minor reasons or for no reason at all.

II. THE SHERIFF’S USE OF SOLITARY CONFINEMENT VIOLATES THE
CONSENSUS OF PROFESSIONAL ORGANIZATIONS IN THE FIELD.

43. The Sherriffs Office's use of solitary confinement violates the norms of

professional organizations in the field. A number of organizations have condemned solitary

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confinement of children under the age of 18 as a categorical matter, recognizing that they are
particularly vulnerable to the adverse psychiatric consequences of such confinement.

44, The American Academy of Child and Adolescent Psychiatry opposes the use of
punitive solitary confinement for juveniles in correctional facilities, recognizing the heinous nature
of solitary relevant to adolescents' developmental vulnerabilities and that the majority of suicides
in juvenile correctional facilities occur when the individual is isolated or in solitary confinement.
See Exhibit B-2.

45. The National Commission on Correctional Health Care, a major accrediting
agency, takes the position that juveniles should be excluded from solitary confinement. See
Exhibit B-3.

46. The American Medical Association has called for correctional facilities to halt the
isolation of juveniles in solitary confinement for disciplinary purposes. (A true and correct copy
of this statement is attached as Exhibit B-4). The American Psychiatric Association has supported
this position statement.

47. The United Nations Rules for the Protection of Juveniles Deprived of their Liberty,
which was approved by the General Assembly in December of 1990, and supported by the United
States, specifically prohibit the solitary confinement of juvenile offenders. (A true and correct
copy of the rules is attached as Exhibit B-5).

48. The World Health Organization has recognized that the UN and other international

treaties call for a complete ban on solitary confinement for juveniles and young people, noting the

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particular vulnerabilities of children, who are developing physically, mentally and socially, and
the high rates of mental illness and suicide amongst young people.

TV. THE SHERIFF’S OFFICE’S USE OF SOLITARY CONFINEMENT IS
COUNTERPRODUCTIVE TO SAFETY

49. Based on my 23 years of academic and professional experience, experience of
serving as a federal monitor of correctional facilities in Illinois and Arizona, review of juvenile
declarations and additional documentation, my opinion is that the use of solitary confinement at
the Palm Beach County Jail is counterproductive to safety.

50. Solitary confinement inhibits juveniles’ ability to cope with stressful situations and
leaves them angrier and more disturbed, and therefore leads to more misbehavior and rules
infractions. A more appropriate way of handling misbehavior in juveniles is through the
engagement of appropriate de-escalation techniques, mental health interventions, and clear
structures for imposing discipline.

V. CHILDREN WITH DISABILITIES IN SOLITARY CONFINEMENT ARE
DEPRIVED OF ACCESS AND DELIVERY OF EDUCATION AND OTHER
PROGRAMS

51. Based on research over the years, 60 to 70 percent of juveniles within detention
facilities have an underlying mental illness. In association with significant mental health issues,
these juveniles will also have underlying learning disabilities and other educational struggles. As

a result, a large percentage of juveniles in correctional facilities require special education

interventions, including Section 504 plans to provide access to the educational setting and

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Individual Education Programs (IEPs) to individually tailor instruction, services, and
accommodations that students need to have educational progress.

52. Consistent with this tendency, many of these juveniles appear to have a history of
special education. While these juveniles are eligible for special education services based on
Language Impairment (LI), Specific Learning Disability (SLD), Emotional Behavioral Disability
(EBD), or Other Health Impairment (OHI), they are denied benefit from their Individual Education
Programs (IEPs) due to their solitary confinement. It is my opinion that the Defendants are aware
of the routine denial of educational services and benefit. [EP conference notes from W.G. include
documentation in which a teacher working with him “stated that there were several
accom[modations]” that the child “was not able to receive because he was in administrative
confinement while at the County Jail”. Similarly, conference notes from an IEP meeting for Jeziah
Guagno state, “Confinement issues were discussed. Under the circumstances of confinement he
has not been able to gain regular access to school, which has negatively impacted his academic
success.” At that meeting for Jeziah, individuals from both the Palm Beach County School District
and the Palm Beach County Jail are listed as participants.

53. | From my review of the records, it is unclear whether any juveniles held in solitary
confinement at the Jail was ever notified of or attended any type of meeting at the Jail regarding
special education services, including any meeting that could be characterized as a manifestation

determination review related to their not being able to attend educational programming as a result

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of behavior that placed them in solitary confinement. None of the juveniles appear to have been
aware of any actions taken by the facility to review and implement their IEPs.

54. Children held in solitary confinement are locked in their cells for the duration
of the school day. They cannot see through the windows in the cell doors. They cannot hear
through the metal doors of their cells. They receive packets of work shoved under their doors.
They have limited access to educational materials and books. They do not receive classroom
instruction. If they have an IEP, they do not receive specialized instruction, accommodations,
or behavioral interventions — the very components that make an educational plan individually
tailored and reasonably calculated to obtain educational benefit.

55. Delivery of instruction cannot be met through a metal door where children cannot
see or hear. Moreover, minimal time with a teacher on the other side of the locked cell does not
enable special education students to meet IEP goals. On logs for the delivery of support facilitation
for W.G., a child with an intellectual disability, the notes simply state that he “refused”, but not
that he was locked inside a concrete cell for ten months. The Defendants have an obligation not
ensure that children in the Jail are enabled meaningful access to educational programs and services.

56. It is my opinion that the policy and practice of shoving packets of work under the
cell doors of the juveniles in solitary confinement, without providing any highly specialized
instruction, does not provide a free, appropriate public education (FAPE) or comply with any
reasonably and adequately written IEP of students with SLD, EBD, or OHI secondary to ADHD.

These students need specialized instruction and accommodations in order to access education. For

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example, because ADHD affects attention, hyperactivity, and impulsivity, one major IEP
modification for children with ADHD is to break up large assignments into smaller parts. Handing
a child with ADHD a bundle of worksheets does not serve to make education more accessible to
him or her. In addition, these packets do not make education more accessible to those students
who have significant difficulties with reading. These cell packets hardly count as education, much
less special education.

57. When children with disabilities are placed in disciplinary solitary confinement as a
result of a rule infraction, an assessment must be made as to whether the rule infraction was a result
of or related to the child’s disability. Likewise, there should be reasonable accommodations in
place to ensure access to education and other programs are available to children with disabilities.

58. Additionally, due to the factor of unidentified disabilities, some of the juveniles at
the Jail may actually be eligible for special education services, but due to lack of meaningful
interaction with school district staff, have not received proper evaluations. Certainly, any child
held in solitary confinement for the length of time experienced by the Plaintiffs would be likely be
experiencing conditions that would require additional educational disability accommodations as
well as accommodations to allow them to access services and programs. However, it is my
understanding that no initial special education evaluation was conducted for those children in
solitary confinement. Furthermore, it is my understanding that none of the children in solitary

confinement at the Jail was newly identified with a disability under Individuals with Disabilities

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Education Act (IDEA) or the broader definition of a disability under Section 504 of the

Rehabilitation Act of 1973 or Title II of the Americans with Disabilities Act.

59. In my opinion, the pattem of solitary confinement practices by the Defendants

 

unreasonably deprives children with disabilities access to programming as well as a denial of

benefits under IDEA.

| certify under penalty of perjury that the foregoing is true and correct.

Khia [Aan 0
sf /
Louis J. Kraus, MS5.7

Chief, Child and Adolescent Psychiatry
Rush University Medical Center

Dated: June 20, 2018.
Northbrook, Hlinois

 

 

 
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LOUIS JAMES KRAUS, M.D., DFAPA, FAACAP

Woman’s Board Professor of Child and Adolescent Psychiatry

PERSONAL DATA:

EDUCATION:
1987
1983

POSTGRADUATE TRAINING:
7/1/92-6/30/94
10/1/88-6/30/92
7/1/91-12/31/91

7/1/87-6/30/88

ACADEMIC APPOINTMENTS:

 

July 2016 - Present

July 2003 — June 2016

March 2001 — 2002

July 2001 — 2002

November 1997 — July 2001

July 1994 ~ August 1997

Chief, Section of Child and Adolescent Psychiatry

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Cell: (847) 217-7755
Email: rkraus9@mac.com

Louis James Kraus, MD
DOB: 12-3-1960 USA

M.D., University of Health Sciences, The Chicago Medical School
B.S., Syracuse University

Child and Adolescent Psychiatry Fellow, The University of Chicago,
Chicago, Illinois

Psychiatry Resident, Northwestern University, Chicago, Illinois
Chief Resident, Psychiatry, Northwestern University, Chicago, Illinois

Surgical intern, Boston University, Boston, Massachusetts

Professor of Clinical Psychiatry, Rush University Medical Center

Associate Professor of Clinical Psychiatry, Rush University Medical
Center

Visiting Associate Professor of Psychiatry, University of Illinois at
Chicago

Assistant Professor of Psychiatry, Northwestern University

Clinical Instructor, Dept. of Psychiatry, Northwestern University

Assistant Professor, Department of Psychiatry, University of Chicago
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July 1994 ~ August 1997 Director of Child and Adolescent Forensic Psychiatry, University of
Chicago

BOARD CERTIFICATION:

May, 2015 Maintenance of Certification in Child and Adolescent Psychiatry, by
The American Board of Psychiatry and Neurology, Certification No.
3956

June, 1999 Board Certified in Forensic Psychiatry, by the American Board of
Psychiatry and Neurology, Certification No. 1079

October, 1995 Board certified in Child and Adolescent Psychiatry, by The American
Board of Psychiatry and Neurology, Certification No. 3956

December, 1993 Board certified in General Psychiatry, by The American Board of

Psychiatry and Neurology, Certification No. 38252

LICENSE:

State of Illinois No. 036-079584 Expires: 07/31/2020
State of Florida No. ME 83084 Expires: 01/31/2019
State of Arizona No. 33456 Expires: 12/03/2018
HONORS AND AWARDS:

* Child and Adolescent Psychiatry, Award: “Scholarship and Perseverance in the Creation of our
Practice Parameter for Child and Adolescent Forensic Evaluations”, 58" Annual Meeting, Toronto,
Canada, October 2011.

® Fellow, American Academy of Child and Adolescent Psychiatry (2006)

® Distinguished Fellow, American Psychiatric Association (2004)

# Woman’s Board Professor of Child and Adolescent Psychiatry, Rush University Medical Center (2004)

AMA Glaxo Welcome Emerging Leaders Development Program (1998)

Top Doctor — 1997 - 2001

Resident Fellowship of The American Psychoanalytic Association (1992)

Laughlin Fellow, Northwestern University (1991)

Magna Cum Laude, Syracuse University

Phi Beta Kappa Honor Society

® Honors Program in Biology, Syracuse University

PROFESSIONAL SOCIETY MEMBERSHIPS
American Academy of Psychiatry and the Law
Illinois Society of Child and Adolescent Psychiatry
American Psychiatric Association
American Academy of Child and Adolescent Psychiatry
American Medical Association
Illinois State Medical Society
Chicago Medical Society
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lilinois Psychiatric Association

TEACHING EXPERIENCE:

May 2008 — Present

July 2006 ~ Present

July 2002 — Present

July 2002 — Present

July 2002 — Present

July 2002 - Present

July 2002 - Present
March 2001 — July
2002

August 1997 ~ March
2001

August, 1997 ~ March

2001

August 1994 — 1997

August 1993 — 1997

July 1991-July 1992

ELECTED POSITIONS:

American Psychiatric Association Mentor for psychiatric residents through the
Council on Children, Adolescents and Their Families

Supervise Rush child and adolescent psychiatry fellows at the Sonia Shankman
Orthogenic School (a residential school)

Supervise general residents and child and adolescent fellows at Rush University
Medical Center

Developed forensic rotation at Rush University Medical Center for child and
adolescent fellows allowing them to observe forensic evaluations in court, and
the Cook County Juvenile Pre-Detention Facility

Develop school consult didactics as well as didactics dealing with Autism;
Supervise Rush University Medical Center’s child and adolescent fellows in their
school Autism rotation at the Chicago Metropolitan Easter Seals Therapeutic
Day Schools

Develop and teach the child and adolescent forensic psychiatry course for child
and adolescent psychiatry fellows at University of Illinois at Chicago and Rush

University Medical Center

Teach and supervise medical students in clinical rotations through child and
adolescent psychiatry at Rush University Medical Center

Supervise and lecture residents at University of Illinois
Teaching and lecturing to general psychiatry residents at Northwestern
University

Supervise child and adolescent psychiatry residents and general psychiatry
residents at Northwestern University

Provide child and adolescent forensic psychiatry course offered to residents and
fellows at the University of Chicago

Supervise child and adolescent psychiatry fellows, psychiatry residents and
psychology trainees at the University of Chicago

Supervise psychiatry residents at Northwestern University
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March 2018-Present

June 2016 — Present
June 2016 - Present
June, 2014 - 2016
2011 — 2013

2011 — 2013

2008 — Present
2009 ~ 2011

2007 — 2009

2007 — 2013

2002 — 2004

REVIEWER:

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APA Member of the Finance and Budget Committee, Investment Over
Sight Committee, and the Audit Committee

Delegate for AACAP to AMA

Chair, Council on Science and Public Health, AMA

Chair Elect, Council on Science and Public Health, AMA

Chair, AACAP Assembly

AACAP Executive Committee

AMA Council of Science and Public Health

Vice-Chair, AACAP Assembly

Treasurer

AACAP Council

AACAP Assembly Representative to the Executive Committee

Guest Reviewer — Journal of The American Academy of Child and Adolescent Psychiatry

TRAINEES AND MENTOREES:

2005 — Present Ongoing Mentoring for AACAP and APA Mentor Programs
2005 ~ 2007 (Jada Johnson, MD) Vice Chair, Psychiatry, Illinois Masonic Hospital

2002 — 2004 (Shiraz Butt, MD) Medical Director, Maryville Academy

1998 ~ 2000 (Lucyna Puszkarska, Medical Director, River Edge Hospital

MD)

1997 — 1999 (Joseph McNally, MD) Medical Director, Streamwood Hospital

PROFESSIONAL SOCIETY APPOINTMENTS

May 2015 — Present American Psychiatric Foundation (APF BOD), Board of Directors
June 2014 ~ Present Chair Elect ~ Council on Science and Public Health (CSPH), American
Medical Association

2014 - Present CMS District 1, Delegate to 2014 Illinois House of Delegates

May 2012 ~ Present Chair — Council on Children, Adolescents and Their Families, American
Psychiatric Association

May 2012 — May 2014 Chicago Medical Society, District 1 Councilor

May 2012 — May 2013 Chicago Medical Society District 1, Alternate Delegate to Illinois 2013
House of Delegates

November 2010 — June 2011 APA Task Force on Prevention of Bullying.

2009 ~ Present APA Political Action Committee (PAC) Board

October 2009 — Present AACAP Committee on Juvenile Justice Reform
April 2008 — 2009
2008 — Present

May 2007 — Present

September 2001 — Present

May 2001 — 2010

December 2000 - 2007

June 2000 ~ June 2002

December 1999 ~ December 2000
November 1999 - 2001
September 1999 — March 2001

June 1999 ~ 2001

January 1999 ~— January 2003

1998- 2010

October 1998 — Present

September 1998 — 2000

April 1998 — December 1998

April 1998 — December 1998

June 1997 — January 1999

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Member APA Council on Children, Adolescents and Their Families.
AACAP Delegate to AMA House of Delegates

Member — Council on Children, Adolescents and Their Families,
American Psychiatric Association

Co-chairman of the AACAP committee on Juvenile Justice Reform.

Chairman of the American Psychiatric Association Committee on
Juvenile Justice Issues

AACAP Alternate Delegate to the AMA House of Delegates 2007
President, Illinois Council of Child & Adolescent Psychiatry

AACAP Delegate for Young Physicians to the AMA

Evanston Northwestern Healthcare Child Protection Committee
Member, Evanston Mental Health Board, Substance Abuse Task Force

Member, AMA Advisory Board on Alcohol intervention Project for
Youth

Chairman, National Commission on Correctional Health Care,
Committee on Juvenile Health Care

Member of the American Psychiatric Association Committee on
Juvenile Justice Issues

Delegate, for The Illinois Council of Child and Adolescent Psychiatry to
American Academy of Child and Adolescent Psychiatry (AACAP)

Clinical Advisor, Chicago Metropolitan Child and Adolescent
Comprehensive Community Services Systems Network Advisory
Council

Vice Chairman, National Commission on Correctional Health Care,
Committee on Juvenile Health Care

Vice Chairman, National Commission on Correctional Health Care, Task
Force for Revision of the NCCHC Standards for Health Services in

Juvenile Detention and Confinement Facilities

Chairperson of AACAP Committee for New Physicians
June 1997 — January 2003

January 1997 — July 2000

July 1995 — July 1996
September 1994 — October 1999
March 1994 ~ December 1996

CONSULTING POSITIONS
January 2013-Present

February 2006 — Present

May 2003 ~ 2008

March 2001 — June 2002

1993 — Present

September 1992-1993

1992 - Present

April 1990 — June 1990

January 1990 - 1992

ADMINISTRATIVE SERVICES:
2011 - Present

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Board of Directors, National Commission on Correctional Health Care

Program Chairman, Illinois Council for Child and Adolescent Psychiatry

Program Chairman for Chicago Society for Adolescent Psychiatry
AACAP Committee on Foster and Adoptive Families

AACAP Alternate Delegate for Young Physicians to the AMA

Federal Consent Decree appointment, Assessment and restructuring of
the mental health programming for the Illinois Department of Juvenile
Justice (IDJJ) under a Consent Decree filed with the Attorney General’s
Office by the American Civil Liberties Union (ACLU} of Illinois in
December 2012 (RJ v. Bishop)

Consultant to the ACLU

Consultant, United States Department of Juvenile Justice, Civil Rights
Division

Director, Child and Adolescent Forensic Psychiatry, University of Illinois

at Chicago

Forensic testimony in Juvenile Court (abuse/neglect & delinquency),
Family Court focusing on custody and expert testimony in other state
and federal cases. Previously worked as an Expert for the Cook County
Public Guardian’s Office and DCFS.

Psychiatrist Chairperson of the Physician Review Board for the City of
Chicago, Department of Mental Health — 1992

Expert testimony in juvenile and domestic relations courts in a variety
of cases ranging from transfer hearings, abuse including Munchausen
by Proxy, Child Advocacy Focusing on Custody and "Best Interest" of
the Child

Psychiatric Consultant to Illinois Youth Center, Joliet, Illinois; General
Population and the Intensive Reintegration Unit

City of Chicago, South East Community Mental Health Center

Development of the Autism Assessment, Research, Treatment and
Services (AARTS) Center at Rush University Medical Center

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2006 - Present

2006 — Present

2002 — Present

1999 — Present

CLINICAL SERVICE:
2012 - Present

July 2005 ~ Present

June 2005 — Present

February 2000 — June 2001

January 1999 — present

September 1998 — Present

August 1997 — February 2000

May 1997 — June 1999

September 1992 ~ May 1993

July 1994 — August 1997

 

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Director of the Sonia Shankman Orthogenic School and Rush University
Medical Center’s clinical rotation for child and adolescent psychiatry
fellows at Rush

Director of Psychiatric Services, Sonia Shankman Orthogenic School

Chief of Child and Adolescent Psychiatry, Rush University Medical
Center

Medical Director of the Chicago Metropolitan Easter Seals Therapeutic
Schools

Director, Autism Assessment, Research, Treatment and Services Center
at Rush University Medical Center

Psychiatric Director Sonia Shankman Orthogenic School at Chicago

Psychiatric Consultant to New Trier, Niles North and Niles West High
Schools

Director, Child and Adolescent and Forensic Psychiatry, University of
Illinois at Chicago

Medical Director, Chicago Metropolitan Easter Seals Therapeutic
School

Psychiatric Consultant to Evanston Township High School

Division Head of Child/Adolescent Psychiatry, Evanston Northwestern
Healthcare

Psychiatric Consultant to Youth Campus (A DCFS contracting agency)

Psychiatrist Chairperson of the Physician Review Board for the City of
Chicago, Department of Mental Health — 1992

Assistant Director of Child and Adolescent Inpatient Services,
University of Chicago

1. October 26, 1994, Chicago Sun Times, TV-Violence Line Elusive.
2. November 6, 1994, Chicago Tribune, “Mental health tests for kids spark debate;” Screening: Testing
would help parents, supporters say.
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November 19, 1994, Chicago Tribune, Try Sandifer suspect as kid, experts say. Louis Kraus testified,
“Derrick Hardaway suffers from a conduct disorder that developed in his early adolescence because
of family tensions, physical abuse and other problems.”

February 25, 1997, Chicago Tribune, Leniency sought for teen convicted of killing Sandifer.

March 13, 1997, Chicago Tribune, Return girl slowly to mom, psychiatrist say.

March 30, 1997, Chicago Tribune, Student-Teacher contact is becoming a danger zone. Kraus was
quoted to say, “The students are drawn into the relationship because they idolize their teacher and
often don’t see anything wrong until much later. At that point they might feel depressed and used
and have trouble forming relationships.”

March 25, 1998, Chicago Tribune, 4 pupils, teacher die in schoolyard ambush.

March 25, 1998, Chicago Sun Times, Kids ambush kids; Shooting stuns school.

March 29, 1998, Violence is linked to genetics, early abuses that set patterns

. April 6, 1998, Chicago Tribune, Teen smokers a pack short of a carton in wisdom department.
. June 3, 1998, Toronto, Canada, American Psychiatric Association, The Daily Bulletin, Presidential

Sessions on “A Time of Violence.”

June 1998, Chicago Parenting, “Keeping rage from turning into tragedy.”

August 14, 1998, Chicago Sun Times, Making Sense of kids’ case.

August 14, 1998, Chicago Tribune, Young suspects sent home. Dr. Kraus testament was paramount
in the 7-year-old being allowed to go home with his family.

Possley, M. and Puente, T., “Young Suspects Sent Home”, Chicago Tribune, August 14, 1998
Kotlowitz, A., “The Unprotected”, The New Yorker. February 8, 1999

March 7, 1999, Chicago Tribune, Aftermath an ordeal for parents, kids.

November 11, 1999, Northwest Herald, Boy who shot clerk sentenced.

February 23, 2000, Tribune Allied Health, Safety nets for teens.

April 9, 2000, Chicago Tribute, School provides unique antidote for depression.

January 30, 2001, Chicago Tribune, Files in Ryan Harris case shed new light. Disclosure of the results
of the psychiatric interview changed interview process of minors.

December 7, 2001, Psychiatric News, AACAP Kraus was quoted “We certainly disagree with the
Supreme Court ruling and believe the death penalty constitutes cruel and unusual punishment.”
July 9, 2002, Psychiatric News, AMA Vows to Prevent Future Psychologist Prescribing Laws.

April 4, 2003, Study Questions Youths’ Ability to Understand Trial Process, Study Implications.

July 18, 2003, Psychiatric News, Psychiatrist Wins AMA Leadership Post: Psychiatry Scores in HOD.
Kraus argued successfully in favor of an amendment to a resolution asking that the AMA support
comprehensive health education for female delinquent, including information on responsible sexual
behavior and the prevention of sexually transmitted diseases and HIV/AIDS.” Kraus also testified,
“Medicaid reaches 44 million Americans, more than Medicare or any other form of health insurance
and covers Americans who are among the poorest and most disadvantaged populations in the
country.”

February 13, 2004, Chicago, Metro North Shore, Abuse of cold medicine rising.

Tresniowski, A. Hewitt, B., “Escape from Hell”, People Magazine. September 25, 2006

Reuters, “Experts say video games not an addiction in AMA Meeting”, June 25, 2007

Neergaard, L. “Easy nondrug helps ADHD Kids”, USA Today. September 3, 2007

Tanner, L. “Shock Treatment Sought for Autistic Man”, USA Today. September 3, 2007

Reuters, “Antidepressant warnings scared parents, doctors”, September 9, 2007

Fox News, “Study: Brains of ADHD Children Develop More Slowly than Brains of other Youngsters”,
November 13, 2007

Bynum, R., Stobbe, M., “Experts Dubious of Ga. 3 Grader Plot”, Associated Press. April 2, 2008
October 31, 2008, The Wall Street Journal, Therapy, Antidepressants Ease Anxiety in Children.

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Tanner, L., “Kids with ADHD on meds test better than peers”, Associated Press. April 27, 2009
Tanner, L., “Jackson kids face hurdles coping with his death, universal trauma of losing a parent may
be eased if stability can be offered”, Associated Press. July 5, 2009

Fox News, “Psychiatrists say Blagojevich’s choice to have daughters join him at court may be
stressful’, July 7, 2010

FOX — Judge Jeanine, “8-year Old Boy’s Commitment to a Psychiatric Ward”, February 19, 2011
CNN, Anderson Cooper 360, “KTH: Mass. School called ‘house of horrors’, May 24, 2012,

Fox News Chicago, “Beauty may no longer be in the eye of the beholder”, May 10, 2012

CNN, Anderson Cooper 360, “Anderson Cooper Investigates Shocking RTC Treatment”, June 4, 2012
Moran, M. “More research needed on SSRI’s for treating Autism Disorders”, Psychiatric News.
Volume 47, Number 11. June 11, 2012

CNN, Anderson Cooper 360, “Crime and Punishment, The Sandusky Trial”, June 12, 2012

NBC News Chicago, “How to Talk to Your Kids about Conn. Shooting”, December 14, 2012
Niedowski, E., Tanner, L. “How to Talk to Your Kids about Conn. Shooting”, Associated Press.
December 15, 2012

CNN, Anderson Cooper 360, “Former Child Hostage Describes Captivity Underground”, February 4,
2013

Fox News Chicago, “Violence has long term effects on children”, August 12, 2013

England, C. “Helping young adults make the transition”, Chicago Medicine Magazine, September
2013

Schmadeke, S., “State’s youth prison system violates inmates’ rights, experts say”, Chicago Tribune.
September 25, 2013

NBC News, “Black Box warning on antidepressants raised suicide attempt”, July 18, 2014

FOX News, “How far should we go to discipline our kids”, September 2014

FOX News, “Could a self-esteem booster turn your child into a narcissist?”, March 2015

Al Jazeera America, “US Only Nation to Imprison Kids for Life,” March 2015

USA Today, “Psychiatrist video game focus red herring”, March 2018

Pbs.org, “Trump said mental illness leads to gun violence. Here’s why doctors disagree”, February
19, 2018,

Rush, “Addressing Attention Deficit Disorder”,

The Brown University Child & Adolescent Psychopharmacology Update, “AACAP expert
on young people and guns: Treating and consulting

SCIENTIFIC ACTIVITIES

a) Grants:

2011-Present Effects of memantine vs. placebo on motor planning and memory in
children with autism spectrum disorders. $74,176

2010 Rush Women’s Board, Assessment of prevalence of Bipolar Disorder in
adolescent population in a residential placement, $30,000

April, 1999 Department of Human Service, State of Illinois Grant — Bridges
Program for Development of School and Home-based Therapeutic
Services for Adolescents, $100,000 per year

March, 1998 Evanston Northwestern Healthcare Auxiliary Grant for Development Of

a Community-based Adolescent Mental Health and Substance Abuse
Program, $1,000,000
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b) Research
2011 — Present Development of Research Program at the Rush AARTS Center
1984 - 1986 Research under direction of Max Harry Weil, Ph.D., Chairman,

Department of Medicine, University of Health Sciences, The Chicago
Medical School, on the reversal of academia during cardiopulmonary
resuscitation

1999 ~ 2001 Outcomes research focusing on adolescent dual diagnosis; early

diagnosis and intervention in a community based treatment program.

c) Poster Presentations

Grunewald, S., Kraus, L., Youngkin, S., Wade, K. H., Forburger, N.,
Owley, T., Loftin, R., Fogg, L. & Soorya, L. (May 2014). Access to care:
Familial and racial variables associated with limited service access for
individuals with ASD. Poster presented at 2014 Annual International
Meeting for Autism Research (IMFAR). Atlanta, GA.

Poster Presentation: APA Meeting, Washington, DC "Monitoring
Resident Supervision in Times of Change," May, 1992.

SCHOLARSHIP
a) Books and Chapters

1.

Thomas, C.R., Kraus, L.J. “Public Policy Implications of Research on Aggression and
Antisocial Behavior”, The Origins of Antisocial Behavior. Oxford University Press, 2012.
Galatzer-Levy, R., Kraus, L., Galatzer-Levy, J., The Scientific Basis of Child Custody Decisions.
Cambridge Press, 2009.

Kessler, C., Kraus, L, The Mental Health Needs of Young Offenders. Cambridge Press, 2007.
Geraghty, R., Kraus, L, Fink, P, “Assessing children’s competence to stand trial and to waive Miranda
rights: new directions for legal and medical decision-making in juvenile courts” in The Mental Health
Needs of Young Offenders. Cambridge Press, 2007,

Kraus L, Sobel, H, “Post-adjudicatory assessment of youth” in The Mental Health Needs of Young
Offenders. Cambridge Press, 2007.

Galatzer-Levy, R., Kraus, L.J., eds, The Scientific Study of Child Custody Decisions, Wiley Press, 1999.
Kraus, L, “Understanding the Relationship between Children and Caregivers” in The Scientific Basis
of Child Custody Decisions, Wiley Press, Ed. Galatzer-Levy R. and Kraus, L 1999.

Leventhal, B. Kelman, J., Galatzer-Levy, R., Kraus, L., “Divorce, Custody, and Visitation in Mid-
Childhood” in The Scientific Basis of Child Custody Decisions, Wiley Press, Ed. Galatzer-Levy R. and
Kraus, L 1999,

b) Peer Reviewed Publications

1.

1988 Practice Parameter for “Child and Adolescent Forensic Evaluations”, Kraus, L, JAACAP, Vol 50,
No.12, Dec. 2011 pp1299-1312.

Geraghty, T.F., Kraus, L, “Treating the Mentally-tI] Offender: The Challenge of Creating an Effective,
Safe and Just System,” The Journal of Criminal Law and Criminology, Northwestern University
School of Law 89 (1) Fall, 1998.

von Planta, M., Gluldipati, R., Weil, M.H., Kraus, L.J., Rackow, E., "Bicarbonate and Tromethamine

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(Tham) Buffers Fail to Improve Resuscitability During Porcine C.P.R.," Federation Proceedings 46 (4),
1145, 1987

4. von Planta, M, Gudipati, R., Weil, M.H., Kraus, L.J., Rackow, E., "Effects of Tromethamine and
Sodium Bicarbonate Buffers During Cardiac Resuscitation,” Journal of Clinical Pharmacology 28,
594-599, 1987

c) Other Publications

1. Kraus, L., Arroyo, W. “Recommendations for Juvenile Justice Reform, Second Edition”, American
Academy of Child and Adolescent Psychiatry Committee on Juvenile Justice Reform. October 2005.

2. Kraus, L, Arroyo, W. Editors, “Recommendations for Juvenile Justice Reform”, Monograph, October
2001, American Academy Child and Adolescent Psychiatry.

3. Kraus, L. “Standards for Juvenile Detention and Confinement Facilities”, Recommendations for
Juvenile Justice Reform, Monograph, October 2001.

4. Kraus, L. “Females in the Juvenile Justice System”, Recommendations for Juvenile Justice Reform,
Monograph, October 2001.

5. Kraus, L, Morris R. “Seclusion and Restraint Standards in Juvenile Corrections”, Recommendations
for Juvenile Justice Reform, Monograph, October 2001.

6. Kraus, L, “Tackling Juvenile Justice,” AACAP News, Volume 31, Issue 2, March/April, 2000, pp. 75-76.

PRESENTATIONS:

Bioethics Conference, Legal and Ethical issues in Forensic Child Custody Evaluations, Feb. 28-March 3, 2018
Harvard University Conference, "Behind Bars: Health and Human Rights in U.S. Prisons" November 28, 2017
AACAP 64" Annual Meeting, Washington, DC October 23-28, 2017

American Psychiatric Association-Annual Meeting, Atlanta, GA “Cyberbullying” Mary 14, 2016

Joslyn Center, Northfield, IL “Community based Mental Health.” September 22, 2016

Sonia Shankman Orthogenic School, Chicago, IL “Child and Adolescent Psychopharmacology.” September
26, 2016

Keynote Speaker, Eugene J-M.A. Thonar, PhD, Award Presentation, Rush University Medical Center, October
14, 2014

Grand Rounds, Rush University Medical Center, “Psychiatric Malpractice: Dos and Don’ts.” May 21, 2014

Chair, AACAP Douglas B. Hansen, MD 39" Annual Review Course in Child and Adolescent Psychiatry, Child
and Adolescent Forensic Psychiatry, Westin Chicago River North, Chicago, IL, March 22-23, 2014.

Autism, Behavioral Challenges and Complex Medical Needs (ABC) Conference, “Making Systems Work
Across the Lifespan for Children with Special Needs,” Treatment and Advocacy for the Autistic Teen as they
Transition into Adulthoed, Kraus, U, Palos Hills, IL November 22, 2013.

illinois State Board of Education, Kraus, U,. Keynote Speaker, “The Complexity of Diagnosis and Behavior of

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Students Placed Residentially.”. November 7, 2013.

IHinois State Board of Education, Kraus, U,. “Juvenile Justice, Social Maladjustment and Associated Mental
Health Disorder: How do we educate this difficult population and what do we do when they get out?”
November 7, 2013.

7" Congress of Asian Society for Child and Adolescent Psychiatry & Allied Professions and 12" Biennial
Conference of Indian Association for Child and Adolescent Mental Health; Kraus, U., Chair, “Cyberage and
Child Mental Health.” September 26, 2013, New Delhi, India.

12 Biennial Conference of Indian Association for Child and Adolescent Mental Health; Kraus, U., Chair,
“Role in the Changing Landscape of Child and Adolescent Psychiatry and Mental Health,” September 25,
2013, New Delhi, India.

12" Biennial Conference of Indian Association for Child and Adolescent Mental Health, Kraus, L., “DSM-V:
implications for Child and Adolescent Psychiatry,” September 25, 2013, New Delhi, India.

Illinois Institute for Continuing Legal Education, iIT Chicago-Kent College of Law, “Cutting Edge Child Custody
Symposium”, Professional Training and Requirements, June 21, 2013.

Illinois Institute for Continuing Legal Education, IIT Chicago-Kent College of Law, “Cutting Edge Child Custody
Symposium,” Point and Counterpoint: Adoption of Custody Evaluation Standards, June 21, 2013.

American Psychiatric Association (APA) Annual Meeting Workshop; “A Career in Child and Adolescent
Psychiatry: From a Developmental Perspective.” San Francisco, CA May 22, 2013.

Office of Juvenile Justice and Delinquency Prevention in Collaboration with the National Center for Youth in
Custody “The Impact of Isolation Practices in Confinement Facilities,” National Webinar, April 3, 2013.

19" judicial Circuit Child Representative/Guardian ad Litem Training, “Psychology of Child Development and
Age Appropriate Visitation.” College of Lake County, Grayslake, Illinois, September 12, 2012.

Abraxas Education Forums; “The Role of Child and Adolescent Psychiatry in Public and Private Special
Education.” Woodridge, IL March 30, 2012.

Learning Disabilities Association of America, 49* International Conference, “Dissecting a Bully: Interventions
for the Bullied.” February 22-25, 2012, Chicago, IL.

APA Annual Meeting, “Wayward Youth Revisited”, May 17, 2011, Honolulu, Hawaii.
APA Annual Meeting, “Teen Bullying”, May 17, 2011, Honolulu, Hawaii.

ISBA Chicago Regional Meeting (Effective Advocacy for Juveniles with Mental Health Needs) “Diagnosis and
Treatment of Mental Health in the Juvenile Justice System”, May 11, 2011.

American Academy of Child and Adolescent Psychiatry (AACAP) 57* Annual Meeting, “Variations in State
Decisions on Custody” October 29, 2010, NY, NY.

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AACAP 57* Annual Meeting, “Role of the Expert in Child & Adolescent Psychiatry Malpractice ” October 29,
2010, NY, NY.

AACAP 57* Annual Meeting, “Advocacy for Children with Autism: How to Find the Right Services” October
29, 2010, NY, NY.

ISBA Family Law Section, Springfield, IL. “Custody Evaluations When Children Have Major Psychiatric
Disorders”, October15, 2010.

ISBA Family Law Section, Chicago, IL. “Custody Evaluations When Children Have Major Psychiatric
Disorders”, September 23, 2010.

DePaul University College of Law, “Juvenile Competency to Stand Trial and Understand Miranda”, April 11,
2009.

illinois State Bar Association (ISBA) and the Committee on Continuing Legal Education, Attorney Education in
Child Custody and Visitation Matters, “Factoring a Child’s Development into Custody and Visitation”
November 21, 2008.

AACAP Members Forum, Practice Parameter for Child and Adolescent Forensic Evaluations, October 31,
2008.

55" Annual AACAP Meeting Chicago, “The Role of the Child Psychiatrist in Juvenile Competency” October
30, 2008.

Rush University Medical Center, Department of Pediatrics Grand Rounds, “Perspectives on Delinquency,
Past and Present”, August 12, 2008.

American Medical Association (AMA), “How has science impacted juvenile justice regarding competency,
waiver hearings, adjudications, dispositions, and treatment (psychopharmacology)”. Annual Meeting,

Washington DC, July 2008.

Spring Midwest American Academy of Psychiatry and the Law (AAPL) Meeting, Chicago, IL, “Juvenile
Competency to Stand Trial and Understand Miranda,” Louis J. Kraus, MD, April 21, 2007.

National APA Meeting in San Diego, “Workshop on Juvenile Justice Presentation on Child Competency to
Stand Trial and Understand Miranda. May 2007.

53 Annual American Academy of Child & Adolescent Psychiatry, San Diego, CA, “The Psychiatrist’s Role in
Child Custody: A Mock Hearing,” Louis J. Kraus, MD, October 28, 2006.

Rush University Medical Center, Department of Psychiatry Grand Rounds, “Capital Punishment for
Teenagers — The Recent Supreme Court Decision Roper v Simmons: Discussion and Forensic Application of
Current Neuroimaging Research on Teenagers “, April 20, 2005.

Cambridge Hospital, Department of Psychiatry Grand Rounds, “Juvenile Delinquency”, September 2004

AACAP National Meeting, San Francisco — Symposium — “Addressing the Needs of Behavior Disordered

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Children Within the School System”, San Francisco, CA, October 25, 2002.
University of Chicago — Workshop “Early Onset Bipolar Disorder”, December 14, 2001.
Juvenile Justice Reform — Media Workshop, National AACAP meeting, Honolulu, Hawaii, October 2001.

Hephzibah Children’s Association — Workshop “Child and Adolescent Psychiatric Diagnoses and
Medications” September 28, 2001

A&E Television Broadcast on “Shattered Innocence - Fells Acres Abuse Case”, August 8, 2001

15" Annual Statewide Forensic Conference, October 16-17, 2000 Loyola University Chicago, Illinois
Department of Human Services

Speaking engagements at parent groups, managed care meetings, University of Chicago, the Department of
Corrections and Probation

Media interviews on television, radio and in newspapers and various publications.

American Psychiatric Association — “Littleton — One Year Later, The Assessment of the Potentially Violent
Child Within The School System,” May 15, 2000.

institute of Psychoanalysis, Conference on Youth and Violence, “Diagnosis and Treatment of Delinquents in
a Maximum Security Youth Center,” May 12, 2000

Evanston Northwestern Healthcare — Pediatric Grand Rounds, “Connections Program — Development of a
Community-Based Adolescent Alcohol and Drug Treatment Program,” May 2, 2000.

Evanston Northwestern Healthcare — Pediatric Grand Rounds, “ADHD, Differential Diagnosis and Treatment”
April 4, 2000.

New Trier High School — Peer Helping, “Adolescent Youth Violence,” March 2, 2000.
Response Center, Skokie, IL, “Adolescent School Violence,” February 16, 2000.

Chicago Bar Association Matrimonial Law Committee, “Physical, Mental and Emotional Abuse in Custody
Cases,” February 14, 2000.

Cook County Public Guardian’s Office, “Domestic Violence and How It Affects Children,” January 31, 2000.
tHinois Psychological Association, “Assessment of Violence in Children and Adolescents, November 11, 1999.

New Trier Township, “School Violence - Treatment and Community Intervention,” May 12, 1999.
Shand Morahan Worksite Lunch Program, “Signs of ADD/ADHD and Possible Treatment,” April 21, 1999.

Evanston Northwestern Healthcare Health watch Program, “Childhood Attention Deficit Disorder:
Treatment Options,” April 7, 1999.

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Evanston Northwestern Healthcare, Department of Psychiatry, Professional Conferences, “School Violence,”
April 6, 1999.

The Warren Wright Adolescent Center, Stone Institute of Psychiatry, Northwestern Memorial Hospital,
‘Miolence in Schools,” November 6, 1998.

Institute for Women’s Health, Evanston Northwestern Healthcare “Helping Kids Cope with Divorce,”
October, 1998.

Illinois Society of Child and Adolescent Psychiatry, “Juvenile Transfer Hearings — The Psychiatric Evaluation,”
October, 1998.

APA Meeting, Toronto, Ontario, Canada, “Treatment of Severe Delinquents in a Maximum Security Youth
Center,” June, 1998.

Evanston Northwestern Healthcare Pediatric Lecture Series, “The Continuum of Behavior Disorders,” April,
1998.

Evanston Northwestern Healthcare Department of Psychiatry, Professional Conferences, “Transfer Hearings
in Juvenile Court: Evaluation of Behavior Disordered Youth,” January, 1998.

Evanston Northwestern Healthcare Department of Psychiatry, Professional Conferences, “The Use of
Attachment Theory in Custody Evaluations,” January, 1998.

Juvenile Justice Division of the Circuit Court of Cook County, "Psychiatric Assessments in Juvenile Justice
Cases," June, 1997.

Chicago Bar Association-Juvenile Law Committee, "Utilizing Psychiatric Evaluations In Juvenile Justice Cases:
Transfer And Dispositional Hearings,” February, 1997.

Genesis Schools/Illinois Association of Counsel for Children, "Helping Incarcerated Youth Overcome
Delinquency and Mental Illness," December, 1996.

University of Chicago, Laboratory School Lower School Parents Association Lecture Series, "Is My Child's
Behavior Normal?" November, 1995.

CAUSES - Illinois Masonic Hospital, "Attachment Theory In The Use Of Bonding Evaluations," September,
1995.

lilinois Probation and Court Services 1995 Annual Spring Conference, "Kids Killing Kids," March, 1995.

Grand Rounds: Columbus Hospital Department of Pediatrics. "Delinquency, Etiology and Intervention," July,
1994.

Cook County Juvenile Court, Office of the Public Guardian. "Munchausen By Proxy," July, 1994.

Columbus Hospital, Department of Pediatrics Grand Rounds, "Delinquency, Risk Factors, and Interventions,"
July, 1994.

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International Correctional Education Association Conference, Chicago " Attention Deficit Hyperactivity
Disorder,” May, 1993.

The American Psychoanalytic Association National Conference, New York, "Attachment Theory - Forensic
implications for Best Interest of the Child," December, 1993.

Poster Presentation: APA Meeting, Washington, DC "Monitoring Resident Supervision in Times of Change,"
May, 1992.

The University of Health Sciences, The Chicago Medical School, "Effects of Tham and NaHCO3 on Acid Base
Balance During CPR," 1984.

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EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF H.C.
I, H.C., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. [am 16 years old and have spent more than 7 months in solitary confinement
at the Palm Beach County Jail. I entered the Jail on December 1, 2017, when
I was 16 years old. I was immediately placed in administrative confinement
due to keep-away conditions with other children.

3. I was never allowed to contest or otherwise dispute my placement in solitary
confinement, nor have I received any periodic review of my classification. I
am being held here indefinitely. I am not aware of any ability to grieve or
appeal my placement in solitary. I never received a copy of the inmate rules
from the Jail, nor was I ever told that I could file a grievance.

4. I have never received any mental health evaluations or other assessments
concerning my well-being while I have been in solitary confinement.
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6. I cannot see through my cell door, nor can I hear through my cell door.
7. Ican only shower every three (3) days.

8. School is nearly impossible for me to participate in while in the Box. I can’t
see the chalkboard or hear the teacher. I receive worksheets under the cell
door.

9. I do not get recreation very often frequently, and when I do, I am alone.

11.I am not allowed to speak with other children and have no social contact with
other individuals. I am alone in my cell 23-24 hours each day. I do not know
when I will ever get out.

12.1 do not feel like any child should have to go through the solitary confinement

experience. It is traumatic and has negatively affected my mental and
physical health.

13.1 am willing to serve as a class representative on behalf of all similarly
situated present and future children held in solitary confinement at the Palm
Beach County Jail.

14.1 know that I am representing more than just myself in this case. I have
spoken with the lawyers who represent me about what being a class
representative means. I want to make sure that the Palm Beach County Jail
can’t treat anyone else the same way that I have been treated.

I certify under penalty of perjury that the foregoing is true and correct.

H.C., oo

Dated: June | Y 2018 in West Palm Beach, Florida
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EXHIBIT D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and natural
guardian Jenny C., et al., on behalf of themselves
and all others similarly situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff, in his
individual and official capacity; et al.,

Defendants.

DECLARATION OF J.E.

I, J.E., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my knowledge.

I have personal knowledge of the facts contained in this declaration, to which I am
competent to testify.

2. I am sixteen years old. Prior to my confinement, I enjoyed playing basketball and
reading. I also spent time with my family, which I miss a lot.

3. [used to live with my mom in Lake Worth, Florida. When I get out of the Palm Beach
County Jail, I want to go to school and would like to be a welder when I grow up.

4. I have been diagnosed with Attention Deficit Hyperactivity Disorder, Conduct Disorder,
and Mood Disorder since I was about 12 years old. I never received any medication for
my mental health issues while in solitary confinement. I have a 504 Plan in school based
on my disabilities, and before being incarcerated at the Jail, I was in the 10h Grade at
Lake Worth High School.

5. I struggle to do well in reading and writing without extra support from my teachers.
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My disabilities make it difficult for me to pay attention for extended periods of
time, and make me feel anxious, depressed, and impulsive.

6. I have been incarcerated pre-trial and pre-adjudication at the Palm Beach County Jail
since January 17, 2018 and will be held here until my criminal case is resolved.

7. I was placed in solitary confinement indefinitely on January 17, 2018 as an
administrative placement due to having co-defendant children who are also incarcerated
here. I did not have to ability to contest or otherwise dispute my placement in solitary
confinement, and I never received any periodic review of my classification while in
solitary. In early June 2018, I was released from solitary after more than 5 months
because one of my co-defendants was no longer held at the Jail.

8. During my time in solitary, I was alone for 23-24 hours a day. I
was permitted to take brief, 10-15-minute showers on Mondays, Wednesdays, and
Fridays. Any opportunities for recreation were limited during which time I can go
to a walled-in basketball court by myself.

9. I did not have any visitors except from my attorneys and my probation officer. I was
able to speak with my mom, but she was often unable to speak with me very much
because she could not talk while she was working.

10.In my cell, there was a metal frame bed with a thin mattress, a single piece toilet and
sink combination, and a stainless-steel desk and stool that are bolted into the wall and
floor. Meals were delivered through a locked, sliding box situated in the door. To
drink water, I had to use the sink adjoining the toilet. The water was discolored if the
taps are not run frequently and the water had an unusual, sewage-like smell. Some
deputies let me place my cup through the sliding box in the door and fill it with the
drinking fountain water used by the children who were not in solitary. Other times
deputies refused to give me water from the drinking fountain, stating, “I’m not your
water boy.”

11.1 was required to be handcuffed each time I left the cell, including to showers,
recreation, medical, and legal visits. I was completely under the control of the deputies at
the Jail. For instance, I could operate the light in my cell with a switch, but on at least two
occasions, a deputy responding at nighttime to noise on the wing deliberately turned on
bright emergency lights and left them on so that me and the children would not be able to
sleep. Another time, I was given pants to wear that deputies later decided were not the
correct ones for me. Rather than exchanging the pants for proper ones, they took my only
pair, and left me undressed for hours. If I try to say anything, the deputies would often
state, “You don’t like it? Don’t get yourself arrested.”

12.1 had little to do in “the Box” — which is what we call the 6' x 12' solitary
confinement cell. I had been locked in that cell for so long that I felt
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depressed, alone, and delusional. I paced the available 4’x10’ area in my cell to pass the
time, and often could not stop moving. I constantly felt like I didn’t have enough space.
I lost about 20 pounds since entering solitary confinement. I also read, but because there
were only a few new books since I got to the Box, I was stuck re-reading the same books
over and over again. If 1 was not pacing, I just stared at the wall all day. I couldn’t even
sleep at night, but rather tried to get some sleep for a few hours after the 3:00 AM
breakfast service. The isolation did something to you. It’s crazy.

13.1 also began having visual and auditory hallucinations. I heard screaming at night and
would stare at the blank wall in my cell and watch a full television show. Other
children held at the Jail tried to communicate with me and say that if ] bang on the door
to get attention, I will be sent to the psych unit, where children have their clothing taken
from them, and are given a paper gown, and locked in a very cold mental health unit
cell. I also experienced frequent headaches and burning sensations in my throat at night,
but I did not tell anyone about them. No nurse came to visit me or talk to me about my
physical or mental well-being.

14.1 felt stressed, anxious, angry, and hopeless. I rarely got any visitors. No one from mental
health ever came to check on me while I was in isolation, even though I had previously
been receiving counseling in the community. My mom also called the Jail to explain
about my disabilities and how they will worsen in confinement, but there was no change
in my status.

15.1 could not attend education classes or programming while in solitary like the other
children. I was given no notice or hearing that after being placed in solitary confinement,
I would not be able to receive typical education classes. Rather, my education in solitary
consisted of sporadically receiving packets of worksheets slid under the door of my cell. I
could not see any classes occurring outside of my cell because the small plexiglass
window on my cell door was entirely scratched. I could not hear the instruction very well
and had to stand and listen through the cracks around the door frame. The teachers held
class away from the cells sometimes even in a different room, and did not speak at a
volume high enough to be heard through the door. The teachers also did not help me with
the worksheets, and I was unable to complete them on my own. I tried to ask for help but
I felt that because there was too many children in the unit, the teachers did not have
enough time to spend helping me. I felt forgotten by the teachers.

16.1 filed grievances while in solitary at the Jail requesting that 1 be removed from solitary
confinement and be allowed to participate in educational programming. After filing an
initial grievance, I received a response stating that they would investigate adjusting my
placement.
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Weeks later, I still did not receive any response, and so | filed an appeal of my
previous grievance to the division commander again requesting removal from
solitary confinementand for access to education. This time, I received a response
to my grievance which stated that I needed to "stop filing frivolous grievances". I
appealed once again, wanting to know what was happening with my request, or to
discuss a solution. This time, the response stated that because I had three "keep
separates,” I "[would] remain in administrative confinement" until such time
that they are no longer in the Jail.

17.1 do not feel like any child should have to go through this experience. I am
worried that I, or any of the other children at the Jail, can be placed into or
sent back to solitary confinement for indefinite periods of time, with no
access to education or ability to contest the confinement.

18.1 am willing to serve as a class representative on behalf ofall similarly situated
present and future children held in solitary confinement at the Palm Beach
County Jail.

19.1 know that 1 am representing more than just myself in this case. I have spoken
with the lawyers who represent me about what being a class representative

means. | want to make sure that the Palm Beach County Jail can't treat anyone
else the same way that I was treated

I certify under penalty of perjury that the foregoingis true and correct.

Dated: June 2018 in West Palm Beach, Florida
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EXHIBIT E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on behalf of
themselves and all others similarly situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff, in
his individual and official capacity; et al.,

Defendants.

DECLARATION OF MLF.
I, M.F., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this declaration,
to which I am competent to testify.

2. [am seventeen years old. I love listening to, singing, and writing music.
Since being incarcerated, I miss being with my family. When I get out of jail
I hope to go to college and become an architect.

3. I was held in solitary confinement pretrial and pre-adjudication from January 17,
2018 to early June 2018 when I was released because my co-defendant was no
longer housed at the jail. I was told that I was placed in solitary confinement due to
keep away conditions with co-defendant children. I never received any opportunity to
contest my placement in solitary prior to or during my time in confinement, nor did I get
any periodic review of my classification. I spent 23-24 hours per day alone while in
solitary confinement.

4. I have been diagnosed with Attention Deficit Hyperactivity Disorder and Conduct
Disorder. I have also been prescribed medication to deal with my mental health issues.
The Jail is aware of my mental health needs because I was placed directly into the
mental health unit of the Jail when I entered.
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5. My experience in the mental health unit was traumatic. I was stripped of all my clothing,
possessions, and confined to a freezing cold cell for 24 hours a day. For the first 2 days
of my stay in the mental health unit, I was not even given a paper gown, but left naked
with a suicide blanket. I was not allowed access to any educational programming,
showers, recreation, phone calls, or visits while held in the mental health unit. I stayed in
the mental health unit for 3 days before being moved to solitary confinement. Despite
receiving medication and counseling prior to my arrival at the Jail, I have not received
medication or therapy while in confinement.

6. In school prior to the Jail, 1 obtained services through an Individual Education Plan for a
speech impairment, had a Behavior Intervention Plan, and received accommodations to
address my individual educational needs. My disabilities affected my ability to complete
school work, pay attention, follow directions, and make appropriate decisions. Since
arriving at the Jail and being placed in solitary confinement, ] received no educational
services, including those previously provided to me through my IEP. I received no
notice or a hearing about not being able to receive education classes as a condition of my
solitary confinement. Even though I previously earned my GED, I am still entitled to
educational services and related services through my IEP, but none have been provided.
I had no IEP meeting to explore the delivery of educational or related services.

7. In isolation, I only received visits from my attorneys. I received my meals through a flap
in the metal door of my cell. I could not lift myself high enough to see out of the top
window in the door of my cell and both that window and the one close to the ground
were scratched so badly that I was unable to see through either of them. Unless
someone was speaking loudly and clearly on the other side of my door, I could not hear
them properly.

8. I also had an injured leg, for which I was prescribed the use of a leg brace with a metal
rod. Upon entering the Jail, the nursing staff confirmed that the leg brace was needed.
However, after approximately one month in solitary confinement, deputies searched my
cell and took away the leg brace because it had a metal rod. No replacement brace was
offered and although my leg has not fully healed, I was given no additional medical
attention.

9. Sometimes ] felt like I was going crazy in the Box. I enjoy reading, but I rarely received
new books, so I re-read the same books over and over again. I also started to talk to
myself while I was in the Box. I also passed the time by pacing or role playing — acting
out scenes from television or movies. I only left my cell for recreation approximately 3
times while I was in isolation. I seldom asked to go to recreation because I felt that the
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10.

11.

hours passed easier if | was unaware of the distinction between day and night. I
began having visual hallucinations and seeing the words on the pages of my
books wiggle and the pages move independently.

Since being in solitary confinement, I became irritable, agitated, and anxious. I
felt completely cut off from others and discouraged about my future. I had
nothing to do in my cell. I could not sleep at night without my medication
because I heard banging from the cell next to me. I received no therapy or
counseling services in the Jail. No mental health workers came to my cell. Prior
to placing me in isolation, no one from the Jail spoke with me about my
disabilities. My mom received a letter from PBSO upon my entry into the Jail
requesting consent for a mental health examination, but | received no
counseling or evaluation.

I filed a grievance requesting that I be freed from solitary confinement and that I
be allowed to receive any educational programming or services. After several
weeks of not receiving any response. I filed another grievance asking for a status
on my previous grievance request. I received a response stating that they were
not aware of any grievances that I filed. and that I was in solitary confinement
because of the “keep separates" in the Jail. The response also requested that |!
write another grievance specifically directed to classification concerning any
housing changes.I wrote a grievance to classification but did not receive any
formal response. Rather. | was told by a deputy that I would not have any
success in changing my housing status because of the other co-defendant children
housed in the Jail.

. I do not feel like any child should have to go through this experience. I am

worried that I, or any of the other children at the Jail, can be placed into
or sent back to solitary confinement for indefinite periods of time, with
no access to education or ability to contest the confinement.

13.I.am willing to serve as a class representative on behalf ofall similarly situated

present and future children held in solitary confinement at the Palm Beach County
Jail.

14.I know that I am representing more than just myself in this case. I have spoken

with the lawyers who represent me about what being a class representative
means. ] want to make sure that the Palm Beach County Jail can't treat anyone
else the same way that I have been treated

I certify under penalty of perjury that the foregoingis true and correct.

Dated: in West Palm Beach, Florida
June 14, 2018

 
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EXHIBIT F
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF T.M.
I, T.M., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. Iam 16 years old and have an IEP in school for a learning disability and
language impairment. I have been incarcerated at the Palm Beach County
Jail for approximately five months.

3. I was recently placed in disciplinary solitary confinement after a fight with
another child. At no time prior to the fight did any Jail staff attempt to
intervene or ask me about what happened. Even though I was not the initial
aggressor, I received a disciplinary report and was immediately placed in
solitary confinement. The other child involved in the incident was not placed
in solitary confinement. I did not receive any disciplinary hearing or other
opportunity to tell my side of the story or otherwise contest my placement in
solitary confinement. Instead, a sergeant at the Jail came to my solitary
confinement cell and informed me that I was to remain in solitary
confinement for the next 20 days based upon a statement from a deputy that
I was the initial aggressor. Again, I was given no opportunity to dispute the
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allegation. I was never told or informed that I could grieve or appeal the
decision to place me in solitary confinement.

4. While in solitary confinement, I had no social interaction and could not speak
to anyone. I was alone in a small cell for 24 hours each day, except for the 5
minutes on Mondays, Wednesdays, and Fridays that I could shower.

5. While in solitary confinement, I was not allowed any access to recreation or
the telephone. In solitary confinement, I could not sleep. I talked to myself
and made up or tried to imagine stories to pass the time.

6. Before solitary confinement, I was “houseman’” for the previous two months, a
position I earned from having no disciplinary infractions and having good
behavior. I had extra responsibilities on the wing. Once I received the
disciplinary report, this privilege was taken from me. I cannot be houseman
again.

7. Icould not participate in school while I was in solitary confinement. I could
not see the marker-board through the scratched up windows in my cell. The
teachers would stick worksheets through the crack on the side of my door,
and would just leave them hanging in the door, often not checking back to see
if I had done any work at all.

8. I do not feel like any child should have to go through the solitary confinement

experience. It is traumatic and negatively affected my mental and physical
health.

9. I am willing to serve as a class representative on behalf of all similarly
situated present and future children held in solitary confinement at the Palm
Beach County Jail because I feel like it could happen again to any of us at
any time.

10.I know that I am representing more than just myself in this case. I have
spoken with the lawyers who represent me about what being a class
representative means. I want to make sure that the Palm Beach County Jail
can’t treat anyone else the same way that I have been treated.

I certify under penalty of perjury that the foregoing is true and correct.

Dated: June [4 _, 2018 in West Palm Beach, Florida

T.M., Plaintiff
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EXHIBIT G
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on
behalf of himself and all others similarly situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF W.G.
I, W.G., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this declaration, to
which I am competent to testify.

2. Iam 16 years old and under the legal custody of my grandmother. I am also
supervised by the Department of Children and Families after having been
removed from the custody of my biological parents. When I grow up, I want to
work in landscaping or have a pressure cleaning business.

3. I have been diagnosed with Attention Deficit Hyperactivity Disorder. I have an
IEP for an intellectual disability, criteria for which includes an IQ below 70, and
Specific Learning Disability. I have a difficult time focusing in school and require
specialized instruction to learn. I am on a differentiated curriculum in school due
to my disability.

4. I was charged as an adult and moved to the Palm Beach County Jail on January 9
2017, when I was 14 years old. At first, I was placed in general population with
the other children on the 12th floor. After about two weeks, I got into a fight with
some other children and received a disciplinary report. I was told that I would

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receive a 20-day disciplinary solitary confinement sentence as a result of my rule
infraction. However, despite receiving no further disciplinary reports, I was held
in solitary confinement for the next 10 months, until my move from the Jail on
October 27, 2017.1 did not have an opportunity to contest my solitary confinement
or present any evidence, nor did I receive any periodic review of my classification.

5. When initially placed in confinement, I asked deputies whether I can get out of the
Box, but was told that I had to stay away from children on both wings of the 12th
floor as a result of the fight. I was never told that I could write a grievance but
rather led to believe that I would be held in confinement indefinitely. I did not
write a formal grievance and did not know how to use the grievance process.
Eventually, I lost hope and stopped asking to get out. No one from the Jail
inquired as to my intellectual or mental health disabilities prior to or during my
placement in the Box. No one from the Jail ever offered me additional assistance
due to my intellectual or mental health disabilities, or provided me with access to
medication for my mental health issues. There rarely were any checks made of me
while I was in solitary.

6. I had no physical or social stimulation while in the Box. I was alone in the cell for
23-24 hours a day. I gained weight in solitary confinement due to lack of exercise.
In fact, after leaving the Box, my body “hurt to move” as it had been inactive for
such a long time. During my 10 months in solitary confinement, I only had visits
from my attorney and my Department of Children and Families case manager.
Any time I left my cell, I was handcuffed. I adapted my sleep schedule to sleep
during the day and be awake at night, but only for a few hours. Many of the
children in solitary adapt to this sleep cycle. I always felt tired, confused, and
upset. I tried to utilize his opportunities for recreation, but was often denied the
privilege because other children were utilizing the recreation space. I was not
allowed to have any interaction with other children or people at the Jail.

7. I wanted to read to “keep from going crazy” in confinement, but I am not a strong
reader and new books were not regularly offered. I wanted to write songs to
occupy my time, but I found that I could not focus enough to do so.

8. I began experiencing headaches, as well as back pain from a previous automobile
accident. I made a sick call and was given “red pills” from the Jail medical staff,
charged to my canteen funds. The pills did not help relieve any pain or stress. I
also felt that I needed glasses to see while in confinement, but I was never given
any vision screening.

9. I became irritable and frustrated, and would yell for the deputies on duty, ina
desperate attempt to engage in some social interaction. I would repeatedly try to
talk to Jail staff, by asking to use the phone, for water, and for soap, but the
deputies would ignore me. I would beat on my cell door to get attention, only to be
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would threaten by deputies to a fight. Deputies also routinely threatened to take
away my showers, phone calls, and attorney visits. Some deputies would even
refuse to let me out of the Box for recreation. Other times, deputies would “toss”
my cell during searches, deliberately tearing up or throwing away my possessions.
Deputies would bang on the door to get me up and if I didn’t get out of bed in five
minutes, I would have a 24 hour lockdown in my cell, without any privileges. To
drink water while in deadlock, I would have to ask the deputies to bring me water
with a cup sent through the food flap of the cell door. Some deputies would refuse,
leaving drinking water from the sink as the only option. The sink, adjoining the
toilet, would often have discolored, odorous water, which I would try to run until it
became clear in order to drink it.

10.All the children on the 12* floor are aware that the mental health unit is a place
where inmates are sent, stripped of their clothing and belongings, given a paper
gown, and forced into a locked, cold cell. Although I never went to the mental
health unit, I heard deputies make threats to children in confinement who were
loud or disruptive. These deputies say things like, “What’s that? You’re going to
kill yourself?” knowing that the mental health unit is not a place you want to be
sent to.

11.For school, I would need to stand the entire time in order to try to see through the
badly scratched window in my cell door or hear through the cracks around the door
frame. Due to my back injuries, standing was painful for me. I explained this
issue to my teachers, but no accommodations were made or alternative to
delivering the education curriculum discussed or created. My only option
remained standing and trying to see and hear through the metal door of my cell. I
was given some work for school under my door. I could not access educational
services and struggled working independently with reading and math. I cannot
read big words. I would yell through the door if I had a question, and some of the
school staff would respond, but then leave quickly as they had to give attention to
others. Some classes were held in other rooms entirely and I had no access to this
instruction. I participated in one IEP meeting on May 25, 2017, but my attendance
lasted only 10 minutes. Eventually, I gave up on trying to observe school or
engage school staff from the confines of my Box and would stay asleep instead.
After my release from the Jail, at an IEP meeting on November 28, 2017, the
support facilitator who worked with me at the Jail acknowledged in conference
notes that there were several accommodations that I was unable to receive while
in confinement at the Jail.

12.My family has noticed a difference in me, which they believe was caused by
solitary confinement. They noticed that I don’t feel comfortable around others my
age, and I am constantly concerned that other children or adults will make
aggressive or negative attacks towards me.
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13.1 do not feel like any child should have te go th rough the sohtarv confinement
experience. It was traumatic and negatively affected my mental and physical
health.

i4..am willing to serve as a class representative on behalf of all similariy
situated present and future children held in solitary confinement at the Palm
Beach County Ja:

 

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{5.1 know that | am representing more than just myself in this case. T have
spoken with the lawyers who represent me about what being a class
representative means. ] want to make sure that the Palm Beach County Jail
can't treat anyone else the same way that I have been treated

    
  

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i certify under penalty of perjury that the foregoing is true and correct.

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Dated: May S

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Sin Tampa. Florida

   
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EXHIBIT H
Case 9:18-cv-80810-WM Document 6-2 Entered on FLSD Docket 06/21/2018 Page 60 of 88

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF J.G.
I, J.G., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. [am 18 years old. I enjoy reading and would like to be a mechanic or city
employee when I get out of Jail. I miss playing sports, especially football,
going to the library, and helping take care of my younger siblings.

3. I have been diagnosed with Attention Deficit Hyperactivity Disorder. In
school, I had an IEP for an Emotional Behavioral Disability. I was in many
home placements growing up and was later adjudicated dependent and
placed under the custody and supervision of the Department of Children and
Families. I have been prescribed psychotropic medication for my disability
and participated in counseling in the community and through school.

4. I was charged as an adult at age 16 and was held in solitary confinement on
the 12th floor. Since turning 18 years old in December 2017, I continue to be
held in solitary confinement on one of the adult floors of the Jail.
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5. When I was first placed at the Jail from March to July 2016, I received a
disciplinary report after a fight with another child and spent about 3 months
in solitary confinement.

6. During this time in solitary, I would have 15 minutes to speak with family on
the phone. However, on one occasion before my phone call was to end, a
deputy unplugged the phone. Because the telephone was my only social
interaction while in isolation, | was upset that my time ended early. I flooded
my cell with water from the toilet out of frustration. The deputies came to
my cell and told me to “cuff up”, where I had to put my hands behind my back
to be handcuffed. While handcuffed, I was pushed against a wall, anda
deputy hit me while my back was turned. I resisted and fell to the floor. The
deputies stomped on me and my face was slammed against the cement floor,
breaking my two front teeth. My chin was split open, which later required to
be sutured closed. I was taken to the mental health unit, where I had my
clothes taken from me, given a paper gown, and was locked in another cell
overnight without receiving any medical attention.

7. The following day, I was taken to the medical unit of the Jail. I was given
gauze to keep in my mouth to soak up the blood. A few days later I was
taken out of the Jail to have surgery to remove the remnants of my front
teeth which were impacted in my gums. I was then given ill-fitting dentures
that clipped on to my other teeth and returned to solitary confinement. The
incident report listed the assault by the deputies as a slip and fall. When I
tried to file a grievance about the use of force and ensuing injuries, I was told
that the time to make a claim had expired. I was told by Jail staff that one of
the deputies who hurt me was reassigned, along with the sergeant who was
on duty, but I have witnessed that the other two deputies who were present
are still on assignment at the Jail.

8. After two more months in solitary confinement, I was released to my father.
But two weeks later, in August 2016, I returned to the Jail. I was
immediately placed in solitary confinement upon my return. This time, I was
placed in administrative solitary confinement and was told that classification
would review my isolation each week. However, I remained in solitary
confinement until December 2017 — approximately 16 months.

9. I continued to be a target for the deputies while in confinement. About two
weeks after my return to the Jail, a deputy accused me of failing to return my
food tray. Despite my denial, the deputy entered my cell and pepper sprayed
me. When the tray was not found in my cell, and after arguing that the
deputy should not be coming into my cell alone, I was moved to the other
wing on the 12) floor.
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10. Also, I still had my denture clips, but found them to be loose and
uncomfortable. I took them out when I slept, but did not have a special
container for them, so I used a covered cup, filled with water, in which to
keep them. In October 2017, while my denture clips were in my cell, but not
in my mouth, deputies tossed my cell and threw away the denture piece. The
incident was not written so I could not have them replaced. The same deputy
involved in the original incident where my teeth were slammed on the floor
simply looked at me and laughed when the dentures where thrown away.

11. While I was in confinement, another PBSO staff member told me that she
would have other inmates assault me ifI got out of confinement. I called the
PREA (Prison Rape Elimination Act) hotline but received no follow up in
response. In December 2017, weeks before my 184 birthday, I was released
from solitary confinement. I was in constant fear of receiving a disciplinary
report and being returned to the Box. I was assaulted shortly after my
placement with the other children in general population. I received a
disciplinary report and was returned to solitary confinement.

12. While I was in solitary confinement, deputies regularly provoked me by
threatening and taunting me. Corrections officers repeatedly knocked on my
cell door during the night to keep me from falling asleep. While in solitary
confinement, I had my recreation and access to drinking water from the
fountain taken away by deputies. Deputies threatened me at least 10 times
with a trip to the “psych cell”, the mental health unit where I would have no
clothes, a paper gown, and be locked in a cold cell if I wasn’t quiet. I had
instances where all my personal items, including drawings, paperwork,
sweaters, socks, undergarments, and the sheets off my bed would be taken
from me for hours at a time as punishment for banging on my door or talking
to other children.

13.In confinement, I felt total isolation. While on the 12‘ floor of the Jail, I
would spend 23-24 hours per day alone. I would repeatedly ask the deputies
what time it was so as to engage in some social interaction. I would get toa
point of such extreme frustration that I would act out. After I had been in
isolation for 11 months, I began to draw pictures or rip them from books or
newspapers and paste them to the wall of my cell with toothpaste, trying to
find something to do. Staff would see my strange behavior, but ignore me.

14.I lost approximately 20 pounds while in confinement. My sleep patterns have
become completely irregular. Even after moving to the adult floors of the
Jail, I have had multiple days of insomnia. I have become extremely anxious
and constantly feel pent up with energy. I have not received any of my
prescribed medication for my mental health conditions since coming to the
Jail more than 1.5 years ago. I had been receiving counseling from the school
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district as a related service through my IEP, but that stopped completely in
June 2017 without any prior written notice from the school district. After
approximately 4 or 5 months in solitary confinement, I requested a sick call
and told the Jail doctor that I was depressed and needed medication. The
doctor told me that he would get in touch with my grandmother, who is my
guardian, but I never heard anything after that.

15.During my solitary confinement I harmed myself by cutting my fingers on a
metal piece in my cell, so that I had an excuse to be taken out of my cell. I
required 12 stitches from this injury. I did not receive any mental health
treatment from the Jail.

16.I filed multiple grievances regarding my confinement. My grievances would
be ignored, returned as not able to be processed, or returned without a reason
as to why I was still held in isolation. At one point, after I had been in
isolation for over a year, a Captain at the Jail talked to me and said he would
review my status and let me out of the Box, but this change never occurred. I
continued to file grievances, but some deputies refused to accept the
grievances and other deputies would tell me to turn it in to the deputy on the
next shift. Other times I would be told by Jail staff that my grievances got
lost. I felt overwhelmingly frustrated and angry about continuing to be held
in solitary confinement. I was released from solitary confinement
approximately 3 months after the conversation with the Jail captain in
December 2017, the same month I turned 18 years old.

17.The lack of access to educational programming, especially services required
by my IEP, also caused me frustration while in the Box. At an IEP meeting, I
explained to school staff that it was difficult to see and hear any of the class
instruction while I was in the Box, but my concerns were not recorded in
conference notes nor addressed by school staff. I could not see out of the
scratched plexiglass window of my cell, felt that I could not keep up with
what was happening in the class, was told to work on my own with papers
slid under my door, failed to receive the help needed to understand the work,
and attempted to listen to school through the gaps in the sides and bottom of
the cell door. I was routinely told by school staff that they would come by
after they were done teaching, but I would usually receive no more than a
minute or two of attention.

18. When I was in school outside of the Box, I recall that my grades were better, I
could sit near a teacher, and I received instructional support throughout the
school day. When I was placed in solitary confinement, I received no notice
that my educational services would be removed as a condition of my isolation.
Eventually, I found no reason at all to wake up when school was occurring on
the other side of my cell door. After I moved to the adult floors, an IEP
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meeting was held on February 13, 2018, and the conference notes state that,
“Under the circumstances of confinement he has not been able to gain regular
access to school, which has negatively impacted his academic success.” No
attempts have been made to improve the method of instruction for me or
other children in solitary confinement.

19.Soon after entering the adult side of the Jail, I was once again placed in
solitary confinement.

20.1 want to be released from solitary confinement. My experience in solitary
confinement has been traumatic and I do not want any other children to go
through what I did.

21.1 am willing to serve as a class representative on behalf of all similarly
situated present and future children held in solitary confinement at the Palm
Beach County Jail.

22.I know that I am representing more than just myself in this case. I have
spoken with the lawyers who represent me about what being a class
representative means. I want to make sure that the Palm Beach County Jail
can’t treat anyone else the same way that I have been treated

I certify under penalty of perjury that the foregoing is true and correct.

Dated: May _/ , 2018 in West Palm Beach, Florida

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J.G., Plaintiff

 
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EXHIBIT I
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF B.D.
I, B.D., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. Iam 18 years old and spent more than 11 months in solitary confinement at
the Palm Beach County Jail. I entered the Jail on December 5, 2016 when I
wasl16 years old. After about two weeks, I was placed in administrative
confinement due to keep-away conditions with other children indefinitely. I
never received any opportunity to contest my solitary confinement or any
periodic review of my classification. I was released from solitary confinement
in November 2017, one month before my 18t birthday, when my keep-aways
left the Jail.

3. I was diagnosed with ADHD and bipolar and had an IEP in school. I was
prescribed psychotropic medication in the community and discussed my
diagnoses and medication with classification at the Jail. However, I was
never visited by a psychiatrist or therapist from the Jail while in solitary
confinement.
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9.

I tried not to thinking about the fact that | was enclosed behind four walls for
23-24 hours a day for fear of “going crazy.” At first, | would try to exercise my
limited opportunities to leave my cell and go to the walled-in basketball court
for solitary recreation. I wouldn't move around, but would sit outside on the
cement ground, close my eyes, try to listen for birds calling around me, and
just breathe. After about six months in solitary confinement, however, I
refused to go outside at all because the presence of air and life outside,
compared to the stale and lifeless confinement in a cell, was too difficult for
me to process.

I passed the time by doing anything I could within my solitary confinement
cell ~ 1 kicked my door, threw things in my cell, talked to myself, sang, and
danced. One time, I was being too loud in my cell and was sent to the mental
health unit because ofa false allegation that I was going to kill myself. The
trip to the mental health unit involved losing my privileges, having clothes
removed, being given a paper gown, and being locked in a cold cell without
phone calls, showers, or recreation.

School was nearly impossible for me to participate in while in the Box. I
would have to stand at the door for the duration of the school day. I would
receive worksheets under the cell door. T would call to teachers but receive no
response. No one made attempts to meaningfully deliver instruction to me or
the other children in solitary. [ did not receive highly specialized instruction,
an IEP designed to meet my educational needs and ensure educational
progress, or a given an appropriate public education during my almost one
year behind the walls in solitary confinement.

I filed multiple grievances regarding my confinement status. One time I
received no response. The second time | received my grievance back with a
signature but without an answer as to when I would be released. To the
third grievance that I wrote, the response stated that [ had too many keep-
aways to be released from confinement. | received no additional disciplinary
reports during my more than 11 months in confinement, but was held
without access to available educational programming, social interaction, and
mental stimulation that I wanted and needed.

T do not feel like any child should have to go through the solitary confinement
experience. It was traumatic and negatively affected my mental and physical
health.

I am willing to serve as a class representative on behalf of all similarly
situated present and future children held in solitary confinement at the Palm
Beach County Jail.
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10.1 know that I am representing more than just myself in this case. I have
spoken with the lawyers who represent me about what being a class
representative means. I want to make sure that the Palm Beach County Jail
can’t treat anyone else the same way that I have been treated

I certify under penalty of perjury that the foregoing is true and correct.

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‘Dated: May R 1 2018 in Gainesville, Florida

BD

B.D.. Plaintiff

 
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EXHIBIT J
Case 9:18-cv-80810-WM Document 6-2 Entered on FLSD Docket 06/21/2018 Page 70 of 88

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF J.O.
I, J.O., pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. Tam 18 years old. I have a close relationship with my father, but because my
mother lives in Haiti, I do not frequently speak with her. I enjoy riding dirt
bikes and playing basketball. I would like to be a small engine mechanic one
day.

3. [entered the Jail in August 2017 and was in solitary confinement at the Jail
for approximately 5 months. I would be locked in my cell for 23-24 hours a
day. I was initially placed in solitary after a disciplinary report, from about
September 26, 2017 to October 11, 2017. I was later moved to general
population for a couple of weeks and then placed back in solitary at the end of
October 2017. I was kept in solitary until my move from the Jail on February
28, 2018. I would be locked in my cell for 23-24 hours a day.
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4. I looked forward to speaking with my father on the phone, which was my only
social connection while in solitary. My father would drive to the parking lot
of the Jail each night and flash his headlights so that I could see them, which
would be the only reprieve I had from the constant sense of loneliness.

5. I was only permitted a brief shower on Mondays, Wednesdays, and Fridays,
and maybe an additional day if I had a court hearing. I was offered
recreation inconsistently and my opportunity for recreation depended on the
scheduling of all the other children in solitary confinement.

6. I gained about 20 pounds in the Box due to my inability to move. I also found
sleep difficult in the Box. I had to drink water out of the sink adjoining the
toilet, which was discolored, had a bad odor, and tasted different than normal
drinking water. Sometimes deputies would provide water in a cup through
the food flap of the locked, metal door, but others would refuse, saying, “I’m
not your water boy.” I also experienced threats from Jail deputies. One
deputy tried to intimidate me and stated, “Didn’t you hear what happened to
J--?”, referring to J.G. and the assault by deputies causing him to lose his
front teeth. Another time, someone urinated under my cell door. I asked
deputies repeatedly for a mop to clean the cell but was ignored. When I
finally gave up and washed the urine with water from my sink, I was accused
of trying to flood the room and received a disciplinary report along with 10
days without recreation.

7. In solitary confinement, I became despondent and hopeless. I was sent to the
mental health unit at the Jail on two occasions. The first time, I was in
general population with the other children on the 12 floor. I was on the bed
in my cell, reading a book, when children on the other sides of my cell were
banging on the doors of their cells. A deputy came to my cell and accused me
of making noise. When I denied making the noise, the deputy falsely accused
me of saying I was going to kill myself. Two deputies came into my cell, put
their knees in my back and hit me so they could handcuff me with my arms
behind my back. I was taken to South 3A, the mental health unit on the 3"4
floor of the Jail. My outer garments and undergarments were ripped off by
deputies using a hook. I felt so violated. Being handcuffed and having my
clothes ripped off my body by grown men with batons, and pepper spray felt
like a sexual assault. I was given only a paper gown which was thin, ripped
easily, and was completely open in the back. Then I was confined to a cold,
locked cell. Because of the incident, I was given a disciplinary report and 10
days disciplinary confinement.

8. The second time I was sent to the mental health unit was in December 2017.
While in solitary confinement, I stood on my desk to speak to another child in
the neighboring cell through a crack in the wall. A deputy told me to get off
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the desk, but I did not immediately comply. As a result, the deputy called the
sergeant and accused me of trying to kill myself by jumping off the desk. I
experienced the same process as the first time: handcuffed, dragged to the
psych ward, clothes ripped from my body, and left in a cold, locked cell. The
mental health unit cells have a glass wall on the front, so the inmates can be
observed at all times. I was left for the entire stay without a partition to
protect me from the view of the adult prisoners around me. I remained in the
mental health unit for the entire weekend. When I returned to the 12¢* floor,
I was once again in solitary confinement.

9. I was not able to participate meaningfully in school while in solitary
confinement. I did not receive any notice or hearing that I would not be able
to participate in the typical educational programming while in solitary
confinement. Even though I would often speak to the guidance counselors at
all my schools in the community, I was not offered these services in the Jail.
In my cell, I would receive packets of work instead of actual class
participation. No one would follow up to ensure that I understood or
completed my packets of work. I tried to stand by the cell door to see what
was happening during school, but the window was scratched so badly that I
could not see through it. Also, I had a pole and stairs in front of my cell,
blocking my ability to see the classroom board. I would call out loudly from
my cell to teachers for help, but they would rarely respond. Some teachers
would come to my door for a few minutes, but then would need to return to
teaching the rest of the children in general population. Some teachers would
refuse to come to the cell door at all. I told the school staff that I could not
see or hear the instruction, but no attempts were made to change the method
of instruction and accommodate the situation for me or other children in
solitary confinement.

10.1 began having visual and auditory hallucinations in solitary confinement. I
saw a third arm coming from my body and began hearing voices, especially at
night. Jail deputies would see my strange behavior, but leave me inside.

11. Initially, when I inquired about grieving my solitary confinement status,
deputies told me it was useless to write grievances. Then, once I began
writing formal grievances, I never heard back. I tried again to file a
grievance with a different deputy, but again received no response. I was told
by one deputy that I had keep-aways and they would not let me out. I even
spoke to the Sergeant about the issues I was having in confinement but was
told that there was no possibility of getting out.

12.Although my visual hallucinations have stopped, I continue to hear voices.
The voices are both male and female. Other children and adults that interact
with me now say that the Jail messed me up. I am told that I speak
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unusually. My gait is abnormal, with a wide-legged wobble that was not
there before I entered the Box. I also feel myself snap at others for no reason.
My sleep patterns have not returned to normal and I do not sleep at night. I
don’t trust anyone around me. My heightened paranoia makes me take a
seat at the back of the room in class because I feel I need to keep watch on’ ’
those around me.

13. My experience in solitary confinement has been traumatic and I do not want
any other children to go through what I did.

14.1 am willing to serve as a class representative on behalf of all similarly
situated present and future children held in solitary confinement at the Palm
Beach County Jail.

15.1 know that I am representing more than just myself in this case. I have
spoken with the lawyers who represent me about what being a class
representative means. I want to make sure that the Palm Beach County Jail
can't treat anyone else the same way that I have been treated

I certify under penalty of perjury that the foregoing is true and correct.

Dated: May [6 , 2018 in West Palm Beach, Florida
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‘ Plaintiff
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EXHIBIT K
Case 9:18-cv-80810-WM Document 6-2 Entered on FLSD Docket 06/21/2018

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division

H.C., a minor, by and through his parent and
natural guardian, Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF JENNY C

I, Jenny C., pursuant to 28 U.S.C. § 1746, declare as follows: .

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1. All facts stated in this declaration are true and correct to the best of my

knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. Iam the mother and guardian of H.C., a named Plaintiff in this action. Iam
acting as his representative pursuant to Rule 17 (c)(1) of the Federal Rules of
Civil Procedure. I fully support my son in his role as class representative in

this action.

3. At all relevant times, my son, H.C., was, and continues to be, incarcerated at

the Palm Beach County Jail (“Jail”).

4. Being a class representative is a significant responsibility, and involves

representing more than just our own interests in the case. That

responsibility is one I am willing to share with my son. I want to represent
my son in this case to ensure that neither he nor any other children are put
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in solitary confinement again and also that he and all children at the Jail get
education and other services needed.

I certify under penalty of perjury that the foregoing is true and correct.
Dated: June 16 , 2018, in West Palm Beach, Florida.

Jenny I a
Jenny C., mother an

guardian of Plaintiff H.C.
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EXHIBIT L
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF NEHOMIE PERCEVAL

I, Nehomie Perceval, pursuant to 28 U.S.C. § 1746, declare as follows:

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1. All facts stated in this declaration are true and correct to the best of my

knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

2. Iam the mother and guardian of J.E., a named Plaintiff in this action. Iam
acting as his representative pursuant to Rule 17 (c)(1) of the Federal Rules of
Civil Procedure. I fully support my son in his role as class representative in

this action.

3. Since January 17, 2018, my son, J.E., was, and continues to be incarcerated

at the Palm Beach County Jail (“Jail”).

4. I have contacted the Jail about the detrimental effect of solitary confinement

has on my son, J.E. I also told the judge in my son’s criminal case that J am
worried about his mental state when he is held in solitary
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confinement. However, despite my pleas, my son continues to be held in
solitary confinement without any services or access to education.

5. Being a class representative is a significant responsibility, and involves
representing more than just our own interests in the case. That
responsibility is one I am willing to share with my son. I want to represent
my son in this case to ensure that neither he nor any other children are put
in solitary confinement again and also that he and all children at the Jail get
education and other services needed.

I certify under penalty of perjury that the foregoing is true and correct.

Dated: May 1g , 2018, in West Palm Beach, Florida.

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Ne he éNaomi Perceval, mother and
ee nandian of Plaintiff J.E.
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EXHIBIT M
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF ASISA ROLLE
I, Asisa Rolle, pursuant to 28 U.S.C. § 1746, declare as follows:

1. All facts stated in this declaration are true and correct to the best of my
knowledge. I am over the age of 18 and have personal knowledge of the facts
contained in this declaration, to which I am competent to testify.

2. Iam the mother and guardian of M.F., a named Plaintiff in this action. I am
acting as his representative pursuant to Rule 17 (c)(1) of the Federal Rules of
Civil Procedure. I fully support my son in his role as class representative in
this action.

3. My son, M.F., has continuously been held in solitary confinement and
imprisoned in Palm Beach County Jail since January 17, 2018. Jail.

4, My son suffers from mental health issues for which he has been
prescribed psychotropic medication. I have contacted the Jail on numerous
occasions to try and sent to get appropriate mental health services for my
son. However, despite my pleas, my son continues to be held in solitary
confinement without his prescribed psychotropic medication.
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EXHIBIT N
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
West Palm Beach Division

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF JESSICA JOINER

I, Jessica Joiner, pursuant to 28 U.S.C. § 1746, declare as follows:

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1. All facts stated in this declaration are true and correct to the best of my

knowledge. I have personal knowledge of the facts contained in this
declaration, to which J am competent to testify.

2. Iam the mother and guardian of T.M., a named Plaintiff in this action. Iam
acting as his representative pursuant to Rule 17 (c)(1) of the Federal Rules of
Civil Procedure. I fully support my son in his role as class representative in

this action.

3. At all relevant times, my son, T.M., was, and continues to be, incarcerated at

the Palm Beach County Jail (“Jail”).

4. I was not informed that my son, T.M., was being placed in solitary

confinement. I contacted the Jail and was told that they couldn’t give me any
information because he is a minor, but that I would be able to call and speak
with him on June 8, 2018.
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5. No one from the Palm Beach County School District called to tell me that my
son, T.M., would not be receiving regular educational services, such as being
in a class with his peers, while in solitary confinement.

6. Being a class representative is a significant responsibility, and involves
representing more than just our own interests in the case. That
responsibility is one I am willing to share with my son. I want to represent
my son in this case to ensure that neither he nor any other children are put
in solitary confinement again and also that he and all children at the Jail get
education and other services needed.

Dated: June \ S , 2018, in West Palm Beach, Flo

   

I certify under penalty of perjury that the foregoing is true and correct.
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Wy ca Joiner, mother and
3 a |

   
    

 
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EXHIBIT O
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Division:

H.C., a minor, by and through his parent and
natural guardian Jenny C., et al., on

behalf of themselves and all others similarly
situated,

Plaintiffs,

RIC BRADSHAW, Palm Beach County Sheriff,
in his individual and official capacity; et al.,

Defendants.

DECLARATION OF DOROTHY WILFORK
I, Dorothy Wilfork, pursuant to 28 U.S.C. § 1746, declare as follows:
1. All facts stated in this declaration are true and correct to the best of my

knowledge. I have personal knowledge of the facts contained in this
declaration, to which I am competent to testify.

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I am the grandmother and guardian of W.G., a named Plaintiff in this action.
I am acting as his representative pursuant to Rule 17 (c)(1) of the Federal
Rules of Civil Procedure. I fully support my grandson in his role as class
representative in this action.

3. At all relevant times, my grandson, W.G., was incarcerated at the Palm
Beach County Jail (“Jail”).

4. Being a class representative is a significant responsibility, and involves
representing more than just our own interests in the case. That
responsibility is one I am willing to share with my grandson. I want to
represent my grandson in this case to ensure that neither he nor any other
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children are put in solitary confinement again and also that he and all
children at the Jail get education and other services needed.

I certify under penalty of perjury that the foregoing is true and correct.

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Hor othy Wilfork, grandmother
and guardian of Plaintiff W.G.

Dated: May ), 2018, in West Palm Beach, Blovida,.

 
